Case 2:23-cv-02000-WSS   Document 11-13   Filed 11/20/23   Page 1 of 25




            EXHIBIT M
         Mesiti Declaration
Infringing Product Type 1 Webpages
Case 2:23-cv-02000-WSS   Document 11-13   Filed 11/20/23   Page 2 of 25




        First Webpage Showing Sale of Infringing
                    Product Type 1
                              Case 2:23-cv-02000-WSS                                                                                                  Document 11-13                                                            Filed 11/20/23                                                 Page 3 of 25



Skip to main content   Delivering to Albany 12201
                                                           All
                                                                                                                                                                                                                                                                                                                           Hello, sign in           Returns            0
                       Update location                                                                                                                                                                                                                                                                         EN          Account & Lists          & Orders               Cart

    All    Holiday Deals     Medical Care            Best Sellers      Amazon Basics                 Prime             Registry        New Releases            Today's Deals         Customer Service          Music      Whole Foods           Books        Fashion    Amazon Home                 Pharmacy            Gift Cards               Join Prime today for deals

 Amazon Home               Shop by Room                             Discover                                     Shop by Style                              Home Décor                          Furniture                              Kitchen & Dining                           Bed & Bath                               Garden & Outdoor                   Home Improvement




                                                                                                                                                                                                                                                                                                                                                                      Sponsored
                              Home & Kitchen › Storage & Organization          ›   Home Storage Hooks        ›    Utility Hooks


                                                                                                                                                                    CertBuy 20 Pack Purse Hanger for Closet, 4.5"
                                                                                                                                                                    Unique Twist Design Bag Hanger Purse Hooks,                                                                                Enjoy fast, FREE delivery,
                                                                                                                                                                                                                                                                                               exclusive deals and award-
                                                                                                                                                                    Closet Hooks for Hanging Handbags, Purses, Belts,                                                                          winning movies & TV shows
                                                                                                                                                                    Scarves, Hats, Clothes (Black)                                                                                             with Prime
                                                                                                                                                                    Brand: CertBuy                                                                                                             Try Prime and start saving today
                                                                                                                                                                    4.0                         1 rating                                                                                       with Fast, FREE Delivery

                                                                                                                                                                    $
                                                                                                                                                                        15    99
                                                                                                                                                                                                                                                                                                $
                                                                                                                                                                                                                                                                                                    15    99
                                                                                                                                                                    Get Fast, Free Shipping with Amazon Prime
                                                                                                                                                                                                                                                                                                Get Fast, Free Shipping with
                                                                                                                                                                    FREE Returns
                                                                                                                                                                                                                                                                                                Amazon Prime
                                                                                                                                                                              Best price                                                                                                        FREE Returns
                                                                                                                                                                                                                                                                                                FREE delivery Wednesday,
                                                                                                                                                                    Get a $60 gift card instantly: Pay $0.00 $15.99 upon approval for the Amazon Store Card.                                    November 22 on orders shipped
                                                                                                                                                                    Find out how                                                                                                                by Amazon over $35
                                                                                                                                                                    Color                         Black                                                                                         Or fastest delivery Thursday,
                                                                                                                                                                    Material                      Metal                                                                                         November 16 Order within 1 hr
                                                                                                                                                                                                                                                                                                                    .


                                                                                                                                                                                                                                                                                                19 mins
                                                                                                                                                                    Brand                         CertBuy
                                                                                                                                                                                                                                                                                                     Delivering to Albany 12201 -
                                                                                                                                                                    Item Dimensions               4.5 x 1.7 x 1 inches
                                                                        Roll over image to zoom in                                                                  LxWxH
                                                                                                                                                                                                                                                                                                     Update location

                                                                                                                                                                    Mounting Type                 Wall Mount                                                                                    In Stock
                                                                                                                                                                                                                                                                                                Qty:
                                                                                                                                                                                                                                                                                                 Qty: 1
                                                                                                                                                                    About this item
                                                                                                                                                                      ��【Upgraded S hook】: The new handbag hanger, twistable 90° for stability and                                                             Add to Cart
                                                                                                                                                                      sturdiness, making better use of vertical space to store your precious handbag and
                                                                                                                                                                      helping it retain its shape.                                                                                                                Buy Now
                                                                                                                                                                      ��【Premium Quality】: Our hanging purse hooks are made of iron and are resistant to
                                                                                                                                                                      deformation; the surface is wrapped in a soft coating that prevents the metal from                                        Ships from     Amazon
                                                                                                                                                                      scratching your belongings.                                                                                               Sold by        CBtone
                                                                                                                                                                                                                                                                                                Returns        Returnable until Jan 31,
                                                                                                                                                                      ��【Indoor Use】: Use s hooks heavy duty to hang cookware in the kitchen, toiletries
                                                                                                                                                                                                                                                                                                               2024
                                                                                                                                                                      in the bathroom or easily hang handbags, rucksacks, belts, jeans, tops, scarves and
                                                                                                                                                                                                                                                                                                Payment        Secure transaction
                                                                                                                                                                      more.
                                                                                                                                                                      ⚘【Outdoors Use】: Use s hooks to hang plants in the garden, organise gadgets in the                                             Add a gift receipt for easy
                                                                                                                                                                      garage, no assembly or perforation required, can be used with wall rails, shelves.                                             returns
                                                                                                                                                                      ��【You Will Receive】: 20 pieces of purse hooks for closet, size 4.5 x 1.6 inch / 115 x
                                    Infringing Product                                                                                                                42 mm, very practical and able to hang anything in a limited space.                                                           Add to List


                                          Type 1


                                                                                                                                                                        Sponsored



                              Buy          it with


                                                                                                                                                                                                                                                                                                                                     Sponsored
                                                                                                                                                                                                      Total price: $38.96
                                                                           +                                                       +                                                                       Add all 3 to Cart



                                                                                                                                                                                              These items are shipped from and sold by
                                                                                                                                                                                              different sellers.
                               This item: CertBuy 20 Pack Purse                    EZlifego Double Sided Tape Heavy                     DOKU Over The Door Hook,                              Show details
                               Hanger for Closet, 4.5" Unique                      Duty, Extra Large Nano Double                        Stainless Steel Heavy Duty Over
                               Twist Design Bag Hanger Purse                       Sided Adhesive Tape, Clear                           Door Hanger Holder for Coat Robe
                               $
                                   15 99                                           $
                                                                                       9 99 ($0.08/Item)                                $
                                                                                                                                            12 98

                              4 stars and above                                                                                                                                                                                                                                                                                 Page 1 of 58
                              Sponsored




                                             Purse Hanger Purse                           Amber Home 20 Pack 6"                   Mzekgxm 10 Pack Purse                      ZEDODIER 14 Pack Purse              12 Pack Purse Hanger                     BESARME 15 Pack Purse                Fitnice 10 Pack Purse
                                             Organizer for Closet,S                       Metal Boots Hangers                     Hanger for Closet,                         Hooks for Closet,                   for Closet,Unique Twist                  Hanger for Closet,                   Hanger for Closet, S
                                             Hooks Twist Design Bag                       with 2 Adjustable Clips,                Unique Twist Design                        Backpack Hanger Bag                 Design Bag Hanger Purse                  Unique Twist Design Bag              Hooks for Hanging
                                             Hanger,Closet Rod ...                        Portable Multifu...                     Closet Organizer…                          Holder, Closet Accesso...           Hooks, Large S...                        Hanger Hooks, Purs...                Twisted Purse Hooks…
                                                          439                                           133                                    153                                         100                                 1,307                                   314                                   184
                                             $8.98     ($1.12/Count)                      $19.99      ($1.00/Count)               $11.99            ($1.20/Count)            $7.99    ($0.57/Count)              $9.69         ($0.81/Count)              $9.99   ($0.67/Count)                $9.99       ($1.00/Count)




                              Products related to this item                                                                                                                                                                                                                                                                     Page 1 of 35
                              Sponsored
Case 2:23-cv-02000-WSS                                                                          Document 11-13                                               Filed 11/20/23                                               Page 4 of 25



            12 Pack Purse Hanger            12 Pack Purse Hanger                  Purse Hangers 16 Pack            BESARME 15 Pack Purse            Purse Hanger for Closet,         CTOHN 20 Pack Purse                  BCISIWOS Purse Hanger
            for Closet,Unique Twist         for Closet,Unique Twist               Bag Hooks, Twist Shape           Hanger for Closet,               Unique Twist Design Bag          Hanger for Closet,                   for Closet, 10 Pack
            Design, Large Size Closet       Design Bag Hanger Purse               Purse Hooks for Closet,          Unique Twist Design Bag          Hanger Purse Hooks,              Unique Twist Design Bag              Handbag Hanger
            Rod Hooks fo...                 Hooks, Large S...                     Large Size Clo...                Hanger Hooks, Purs...            Large Size Clo...                Hanger Purse Hooks, ...              Organizer Unique…
            $9.39      ($0.78/Count)                      1,307                                 42                              314                               37                              17                                    30
                                            $9.69         ($0.81/Count)           $11.99                           $9.99   ($0.67/Count)            $9.99   ($0.83/Count)            $9.98    ($0.50/Count)               $6.99




Videos                                                                                                                                                                                                                                             Page 1 of 3

          Videos for related products




                                                    0:46                                                    0:30                                               0:29                                                  0:50
           CTOHN Purse Hangers for Closet                         15 Pack Purse Hanger for Closet, for Better         Large Size Closet Rod Hooks                           MEILIDY 3 Inch Reversible S Hooks   - Black           S Hooks Hanging Safety
           JINGWEI-US                                             Organized                                           Fitnice Official                                      & Silver                                              Gardening House
                                                                  zhangheting                                                                                               MEILIDY Official




 Upload your video




Looking for specific info?



Product Description
     CertBuy 20 Pack 115 x 42 mm Purse Hanger for Closet, Purse Hooks, Purse Hangers, Hanging Hooks, Closet Hooks for Hanging Clothes

     Features:
     ��Tough, durable construction and fine workmanship.
     ��Widely used in kitchens, bathrooms, storage rooms, gardens, garages.
     ��These S-hooks can help you save a lot of space in wardrobes, cabinets, table.

     Specifications:
     Color: black
     Material: iron
     Size: 4.5 x 1.6 Inch / 115 x 42 mm

     Package Included:
     20 x S Hooks Heavy Duty



Product information

   Product Dimensions                                               4.5 x 1.7 x 1 inches                                            Warranty & Support
   Item Weight                                                      12.6 ounces                                                     Product Warranty: For warranty information about this product, please click here

   Manufacturer                                                     CertBuy                                                         Feedback
   ASIN                                                             B0C2VJ4DPS                                                      Would you like to tell us about a lower price?
   Country of Origin                                                China

   Item model number                                                20 Pack Purse Hanger for Closet

   Customer Reviews                                                 4.0                     1 rating
                                                                    4.0 out of 5 stars

   Best Sellers Rank                                                #193,896 in Industrial & Scientific ( See Top 100 in
                                                                    Industrial & Scientific )
                                                                    #2,350 in Utility Hooks
                                                                    #3,388 in Industrial Hooks
                                                                    #95,670 in Hardware

   Maximum recommended load                                         100 Pounds

   Number of pieces                                                 20

   Batteries required                                               No

   Included Components                                              No




Important information
   To report an issue with this product, click here   .




Compare with similar items
Case 2:23-cv-02000-WSS                                                                            Document 11-13                                                       Filed 11/20/23                                                 Page 5 of 25




                                        This item CertBuy 20 Pack Purse              12 Pack Purse Hanger for                      BESARME 15 Pack Purse Hanger                       BCISIWOS Purse Hanger for Closet,               Fitnice 10 Pack Purse Hanger for
                                        Hanger for Closet, 4.5" Unique               Closet,Unique Twist Design Bag                for Closet, Unique Twist Design                    10 Pack Handbag Hanger                          Closet, S Hooks for Hanging
                                        Twist Design Bag Hanger Purse                Hanger Purse Hooks, Large Size                Bag Hanger Hooks, Purse                            Organizer Unique Twist Design                   Twisted Purse Hooks Heavy Duty S
                                        Hooks, Closet Hooks for Hanging              Closet Rod Hooks for Hanging                  Organizer Hooks for Closet Large                   Bag Hanger Purse Hooks, Large                   Hooks Handbag Hanger Organizer
                                        Handbags, Purses, Belts, Scarves,            Necklace Bags, Purses, Handbags,              Closet S Hooks for Hanging                         Size Closet Rod Hooks for Hanging               Space Saving Closet Rod Hooks for
                                        Hats, Clothes (Black)                        Belts, Scarves, Hats,Clothes, Pans            Handbags Purses Clothes(Black)                     Purses, Handbags, Clothes, Plant,               Clothes, Bags, Plants, Pots (Black)
                                                                                     and Pots, Black                                                                                  Pots(Black)

                                            Add to Cart                                  Add to Cart                                   Add to Cart                                        Add to Cart                                      Add to Cart



  Customer Rating                                         (1)                                          (1307)                                        (314)                                              (30)                                             (184)
  Price                                 $
                                            15 99                                    $
                                                                                         9 69                                      $
                                                                                                                                       9 99                                           $
                                                                                                                                                                                          6 99                                        $
                                                                                                                                                                                                                                          9 99
  Shipping                              FREE Shipping on orders over                 FREE Shipping on orders over                  FREE Shipping on orders over                       FREE Shipping on orders over                    FREE Shipping on orders over
                                        $35.00 shipped by Amazon or get              $35.00 shipped by Amazon or get               $35.00 shipped by Amazon or get                    $35.00 shipped by Amazon or get                 $35.00 shipped by Amazon or get
                                        Fast, Free Shipping with Amazon              Fast, Free Shipping with Amazon               Fast, Free Shipping with Amazon                    Fast, Free Shipping with Amazon                 Fast, Free Shipping with Amazon
                                        Prime                                        Prime                                         Prime                                              Prime                                           Prime
  Sold By                               CBtone                                       LiteViso                                      zhangheting                                        CJ Emerald                                      Fitnice Official
  Color                                 Black                                        Black                                         Black                                              Black                                           Black
  Material                              Metal                                        Rubber, Alloy Steel                           Vinyl                                              Stainless Steel                                 Stainless Steel, Plastic



Products related to this item                                                                                                                                                                                                                                       Page 1 of 20
Sponsored




             EZLAD 6-Inch Large S                   Maitys 18 Pieces Purse         24 Pcs Metal Clothes              AMKUFO Hangers-                         12 Pack Purse Hanger                  12 Pack Purse Hanger                   Purse Hangers 16 Pack
             Hooks (Pack of 6), Non-                Hanger Hook Acrylic Bag        Hanger Connector Hooks            Space-Saving-12 Pack -                  for Closet,Unique Twist               for Closet,Unique Twist                Bag Hooks, Twist Shape
             Slip Vinyl Coated Black                Hanger Handbag Tote            Stainless Steel Cascading         Closet-Organizers-and-                  Design, Large Size Closet             Design Bag Hanger Purse                Purse Hooks for Closet,
             Hooks for Hangi...                     Bag Rack Holder ...            Extender Conn...                  Storage for Dorm…                       Rod Hooks fo...                       Hooks, Large S...                      Large Size Clo...
                           112                                   13                              4                                78                         $9.39    ($0.78/Count)                              1,307                                  42
             $6.99                                  $29.99      ($1.67/Count)      $10.99       ($0.46/Count)        $11.99       ($1.00/Count)                                                    $9.69       ($0.81/Count)              $11.99




                                                                                                                                                                                                                          Sponsored

Similar brands on Amazon                                                                                                                                                                                                                                             Page 1 of 2
Sponsored


                  Wiosi                                                                            HOME DEPUTY                                                                            FeeraHozer
                  Shop the Store on Amazon ›                                                       Shop the Store on Amazon   ›                                                           Shop the Store on Amazon    ›




                                    Purse Hanger Organizer for Closet 3 Pack                                         HOME DEPUTY 6 Pack Purse Organizers                                                       Magic Pants Hangers Space Saving - 2
                                    - Durable Luxury Acrylic Holder for                                              for Closet - 6 Bag Hooks - Silver - Purse                                                 Pack for Closet Multiple Layers
                                    Handbag Tote 449
                                                   Bag Satchel Backpack                                              Hangers for Closet 511 with Unique Twisted                                                Multifunctional11,525
                                                                                                                                                                                                                                  Uses Rack Organizer for
                                    Crossover
                                    $ 29 . 99 - Holds Up to 66Lbs – Easy to                                          Hook
                                                                                                                     $ 12 . 50Design   which
                                                                                                                                 Typical:      Saves Space - Your
                                                                                                                                           $13.50                                                              Trousers  Scarves
                                                                                                                                                                                                               $ 21 . 99 List:      Slack (2 Pack with 10
                                                                                                                                                                                                                               $29.99
                                    Clean, No Tools Required                                                         Handbags Will Look Great in Your Closet                                                   Metal Clips)




Customer reviews                                                                No customer reviews
                  4 out of 5
                                                                                  There are 0 customer reviews and 1 customer rating.
1 global rating

5 star                                          0%
4 star                                       100%
3 star                                          0%
2 star                                          0%
1 star                                          0%

   How customer reviews and ratings work
                              Case 2:23-cv-02000-WSS                                                                               Document 11-13                                                  Filed 11/20/23                                                Page 6 of 25



                             Review this product
                             Share your thoughts with other customers

                                            Write a customer review




                                                                            Sponsored




                             Based on your recent shopping trends                                                                                                                                                                                                                                Page 1 of 6




                                           60 Pack S Hooks for                    ZEDODIER 14 Pack Purse            12 Pack 6 Inch S Hook,             Evob 30 Pack Black S             Myfolrena Purse Hangers             Waitkey 8 Pack S Hooks                Evob 20 Pack 3.4" S
                                           Hanging - 3 Size S Hooks               Hooks for Closet,                 Large Vinyl Coated S               Hooks Steel S Hanging            Bag Hooks Closet- 12                for Hanging, 3.5 inch                 Shaped Hooks Stainless
                                           Heavy Duty - Black S                   Backpack Hanger Bag               Hooks with Rubber                  Hooks Heavy Duty S               Pack Handbag Hanger                 Heavy Duty Metal S                    Steel Metal Hangers
                                           Hooks Sliver Chrome                    Holder, Closet                    Stopper Non Slip Heavy             Hanger Hook Metal                Organizer Metal S                   Shaped Hooks2,261    with             Hanging Hooks for
                                           Vinyl Coated - Steel                   Accessories Organizer S           Duty S Hook, 2,800 Steel Iron      Kitchen Pot Rack Hooks           Hooks, Large 229  Size Closet      Safety
                                                                                                                                                                                                                              Save 40%Buckle Pot                  Kitchen, Work Shop,
                                           Metal Closet 40  S Hooks for           Hook for Hanging   100            Black    Rubber
                                                                                                                      Amazon's         Coated
                                                                                                                                  Choice    in         Plants Hooks 11,881 for          Rod    Hooks Choice
                                                                                                                                                                                          Amazon's     for Hanging
                                                                                                                                                                                                                in         $Rack/Closet
                                                                                                                                                                                                                             5 . 99          Hooks     for        Bathroom, Garden18,433
                                           Hanging
                                           $ 9 . 99     Plants Pots               Purses,      Handbags, Bags,
                                                                                  $ 7 . 99 ($0.57/Count)            Closet S Hooks
                                                                                                                    Screw-In    Hooks for              Hanging       Pot, Pan, Cups,
                                                                                                                                                       $ 7 . 47 ($0.25/Count)           Handbags,Clothes,
                                                                                                                                                                                        Utility Hooks                      Hanging
                                                                                                                                                                                                                           List:  $9.99 Plants, Clothes,
                                                                                                                                                                                                                                                                  $ 6 . 47 ($0.32/Count)
                                           Purseit asBags
                                           Get        soon as Sunday,             Belts,it asScarves,
                                                                                  Get                  Hats,
                                                                                               soon as Sunday,     $Hanging
                                                                                                                     9 . 99      Necklace   Jeans      Plants,
                                                                                                                                                       Get   it as Bags,
                                                                                                                                                                   soon asJeans,
                                                                                                                                                                            Sunday,    $Curtain,
                                                                                                                                                                                         9 . 99    Plant,   Pans   and     Kitchen price
                                                                                                                                                                                                                           Lowest       Utensil,
                                                                                                                                                                                                                                              in 30Pots
                                                                                                                                                                                                                                                      daysand     Get it as soon as Sunday,
                                           Nov 19                                 Clothes,
                                                                                  Nov    19 and Plant, Silver      Plants
                                                                                                                   Get        Jewelry Pot Pan
                                                                                                                         it as soon as Sunday,
                                                                                                                                                       Towels
                                                                                                                                                       Nov    19                       Potsit as soon as Sunday,
                                                                                                                                                                                       Get                                 Pans,
                                                                                                                                                                                                                           Get it asBags
                                                                                                                                                                                                                                       soon (Black)
                                                                                                                                                                                                                                             as Sunday,           Nov 19
                                           FREE Shipping on orders over           FREE Shipping on orders over     Cups19
                                                                                                                   Nov                                 FREE Shipping on orders over    Nov 19                              Nov 19                                 FREE Shipping on orders over
                                           $35 shipped by Amazon                  $35 shipped by Amazon            FREE Shipping on orders over        $35 shipped by Amazon           FREE Shipping on orders over        FREE Shipping on orders over           $35 shipped by Amazon
                                                                                                                   $35 shipped by Amazon                                               $35 shipped by Amazon               $35 shipped by Amazon




                                                                                                                                                                                                                         Sponsored




Best Sellers in Industrial & Scientific                                                                                                                                                                                                                                                                                              Page 1 of 5




         MedPride Powder-Free                 iHealth COVID-19                      Cascade Platinum Plus          Pampers Sensitive Baby               Med PRIDE NitriPride           SYLVANIA ECO LED Light            Gorilla Super Glue Gel                  iHealth COVID-19                  Med PRIDE Medical Vinyl
         Nitrile Exam Gloves,                 Antigen Rapid Test, 1                 ActionPacs Dishwasher          Wipes - Baby Wipes                   Nitrile-Vinyl Blend Exam       Bulb, A19 60W                     XL, 25 Gram, Clear, (Pack               Antigen Rapid Test, 1             Examination Gloves
         Medium, Box/100                      Pack, 5 Tests Total, FDA              Detergent Pods, Fresh,         Combo, 1008 Count,                   Gloves, Medium 100 -           Equivalent, Efficient 9W,         of 1)                                   Pack, 2 Tests Total, FDA          (Large, 100-Count) Latex
                         86,073               EUA Authorized OTC at-                62 Count                       Water Based,                         Powder Free, Latex Free        7 Year, 750 Lumens,                                 29,991                EUA Authorized OTC at-            Free Rubber     |

         Low returns                          Home Self Test,   19,056
                                                                     Results                       87,486          Hypoallergenic198,946
                                                                                                                                     and                & Rubber Free40,932 - Single                   41,995
                                                                                                                                                                                       2700K, Non-Dimmable,                #1 Best Seller in                     Home Self Test, Results                              86,679
                                                                                                                                                                                                                                                                                                   Disposable, Ultra-Strong,
           #1 Best Seller in Industrial       in#115Best
                                                       Minutes
                                                         Seller with    Non-
                                                                  in Clinical         #1 Best Seller in            Unscented    (Packaging
                                                                                                                    #1 Best Seller  in                  Use   Non-Sterile
                                                                                                                                                          Amazon's   Choice            Frosted,  Soft White
                                                                                                                                                                                        #1 Best Seller   in LED - 8      Cyanoacrylate Adhesives                 in 15 Minutes 207,146
                                                                                                                                                                                                                                                                                    with Non-      Low returns
                                                                                                                                                                                                                                                                                                   Clear      Fluid, Blood,
                                                                                                                                                                                in                                                                                                                        |

         & Scientific                         invasive Nasal      Swab,                                            May Vary)Component                                                                                                                                                              $ 8 . 99 Healthcare,
                                              Diagnostic   Test Kits                Commercial Dishwasher          Electronic                           Medical Exam Gloves for
                                                                                                                                                        Protective    Gloves           Pack (40821)
                                                                                                                                                                                       Bulbs                             $ 8 . 57 ($9.74/Ounce)                 $invasive
                                                                                                                                                                                                                                                                   17 . 98 Nasal     Swab,
                                                                                                                                                                                                                                                                             ($8.99/Count)         Exam,       ($0.09/Count) Food
         $ 9 . 99 ($0.10/Count)              $Easy    to Use   & No                                                                                                                                                                                                                                Get   it as soon
                                                                                                                                                                                                                                                                                                                  Useas Monday,
                                                44 . 95   ($8.99/Count)             Detergents                     Sensors                             $Medical    Use, Cooking,
                                                                                                                                                         9 . 99 ($0.10/Count)
                                                                                                                                                                                       $ 13 . 42 ($1.68/Count)           Get it as soon as Sunday,              Easyit toas soon
                                                                                                                                                                                                                                                                Get         Use &as No
                                                                                                                                                                                                                                                                                    Sunday,        Handling            | No
         Get it as soon as Sunday,           Discomfort
                                              Get it as soon as Sunday,             $ 17 . 59 ($0.28/Count)        $ 34 . 97 ($3.47/100 Count)         Cleaning     & More             Get it as soon as Tuesday,        Nov 19                                 Discomfort
                                                                                                                                                                                                                                                                Nov 19                             Nov 20
                                                                                                                                                                                                                                                                                                   Powder
                                                                                                                                                        Get it as soon  as Sunday,
         Nov 19                              Nov 19                                 Get it as soon as Wednesday,   Get it as soon as Sunday,                                           Nov 21                            FREE Shipping on orders over           FREE Shipping on orders over       FREE Shipping on orders over
                                                                                                                                                       Nov 19
         FREE Shipping on orders over        FREE Shipping by Amazon                Nov 22                         Nov 19                                                              FREE Shipping on orders over      $35 shipped by Amazon                  $35 shipped by Amazon              $35 shipped by Amazon
                                                                                                                                                       FREE Shipping on orders over
         $35 shipped by Amazon                                                      FREE Shipping on orders over   FREE Shipping on orders over                                        $35 shipped by Amazon
                                                                                                                                                       $35 shipped by Amazon
                                                                                    $35 shipped by Amazon          $35 shipped by Amazon


Customers who viewed items in your browsing history also viewed                                                                                                                                                                                                                                                                      Page 1 of 6




          12 Pack Purse Hanger                BESARME 15 Pack Purse                 Purse Hanger Purse             ZEDODIER 14 Pack Purse              BCISIWOS Purse Hanger           Fitnice 10 Pack Purse             Myfolrena Purse Hangers                Evob 20 Pack 3.4" S                Yzerel 12Pcs S Hooks
          for Closet,Unique Twist             Hanger for Closet,                    Organizer for Closet,S         Hooks for Closet,                    for Closet, 10 Pack            Hanger for Closet, S              Bag Hooks Closet- 12                   Shaped Hooks Stainless             Hanging Safety Buckle -
          Design Bag Hanger Purse             Unique Twist Design Bag               Hooks Twist Design Bag         Backpack Hanger Bag                  Handbag Hanger                 Hooks for Hanging                 Pack Handbag Hanger                    Steel Metal Hangers                3.5 inch Heavy Duty S
          Hooks, Large Size Closet            Hanger Hooks, Purse                   Hanger,Closet Rod              Holder, Closet                       Organizer Unique 30    Twist   Twisted Purse Hooks               Organizer Metal S                      Hanging Hooks for                  Hooks,Hanging Plants
          Rod Hooks for1,307  Hanging         Organizer Hooks  314 for              Hooks for Hanging              Accessories Organizer S              Design
                                                                                                                                                          Save 8%Bag Hanger Purse      Heavy Duty S Hooks                Hooks, Large Size Closet               Kitchen, Work Shop,                for Closet Hooks,
          Necklace
            Amazon's Bags,
                       Choice Purses,
                                  in Tie      Closet   Large
                                                Amazon's       Closetin S
                                                           Choice                                   439
                                                                                    Handbags,Purses,Belts,S        Hook for Hanging 100                $Hooks,
                                                                                                                                                         6 . 99 Large Size Closet      Handbag Hanger    184             Rod Hooks for229Hanging                Bathroom, Garden18,433             Clothes, Kitchen   315 Utensil,
          Handbags, Belts,
          Racks                               Hooks Hooks
                                              Utility  for Hanging                  carves,Hats,Clothes,Pots
                                                                                    $ 8 . 98 ($1.12/Count)         Purses,    Handbags, Bags,
                                                                                                                   $ 7 . 99 ($0.57/Count)              Rod Hooks
                                                                                                                                                       Typical: $7.59 for Hanging      Organizer      Space Saving
                                                                                                                                                                                       $ 9 . 99 ($1.00/Count)            Handbags,Clothes,
                                                                                                                                                                                                                         $ 9 . 99                               $ 6 . 47 ($0.32/Count)             Pots
                                                                                                                                                                                                                                                                                                   $ 6 . 12and($0.51/Fl
                                                                                                                                                                                                                                                                                                                 Pans, Bags
                                                                                                                                                                                                                                                                                                                         Oz)
         $Scarves,   Hats,Clothes,
           9 . 69 ($0.81/Count)              $Handbags      Purses
                                               9 . 99 ($0.67/Count)                 and    Pans. (8 Pack  Black)
                                                                                    Get it as soon as Sunday,      Belts,   Scarves,  Hats,
                                                                                                                   Get it as soon as Sunday,           Purses, price
                                                                                                                                                       Lowest    Handbags,
                                                                                                                                                                         in 30 days    Closet    Rod   Hooks for
                                                                                                                                                                                       Get it as soon as Monday,         Curtain,
                                                                                                                                                                                                                         Get          Plant,as Sunday,
                                                                                                                                                                                                                               it as soon       Pans and        Get it as soon as Sunday,          (Black)
                                                                                                                                                                                                                                                                                                   Get it as soon as Monday,
         Pans
          Get it and   Pots,
                 as soon      Black
                          as Sunday,         Clothes(Black)
                                              Get it as soon as Sunday,             Nov 19                         Clothes,
                                                                                                                   Nov    19 and Plant, Silver         Clothes,   Plant,as Sunday,
                                                                                                                                                       Get it as soon                  Clothes,
                                                                                                                                                                                       Nov    20 Bags, Plants,           Pots 19
                                                                                                                                                                                                                         Nov                                    Nov 19                             Nov 20
         Nov 19                              Nov 19                                 FREE Shipping on orders over   FREE Shipping on orders over        Pots(Black)
                                                                                                                                                       Nov 19                          Pots Shipping
                                                                                                                                                                                       FREE    (Black) on orders over    FREE Shipping on orders over           FREE Shipping on orders over       FREE Shipping on orders over
         FREE Shipping on orders over        FREE Shipping on orders over           $35 shipped by Amazon          $35 shipped by Amazon               FREE Shipping on orders over    $35 shipped by Amazon             $35 shipped by Amazon                  $35 shipped by Amazon              $35 shipped by Amazon
         $35 shipped by Amazon               $35 shipped by Amazon                                                                                     $35 shipped by Amazon




                                                                                                                                                    See personalized recommendations
                                                                                                                                                                  Sign in
                                                                                                                                                          New customer? Start here.
Case 2:23-cv-02000-WSS                                  Document 11-13                                                    Filed 11/20/23                                       Page 7 of 25



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          Get to Know Us                      Make Money with Us                                 Amazon Payment Products                               Let Us Help You
          Careers                             Start Selling with                                 Amazon Visa                                           Your Account
                                              Amazon
          Amazon                                                                                 Amazon Store Card                                     Your Orders
          Newsletter                          Sell apps on Amazon
                                                                                                 Amazon Secured Card                                   Shipping Rates &
          About Amazon                        Supply to Amazon                                                                                         Policies
                                                                                                 Amazon Business Card
          Accessibility                       Protect & Build Your                                                                                     Amazon Prime
                                              Brand                                              Shop with Points
          Sustainability                                                                                                                               Returns &
                                              Become an Affiliate                                Credit Card Marketplace                               Replacements
          Press Center
                                              Become a Delivery Driver                           Reload Your Balance                                   Manage Your
          Investor Relations                                                                                                                           Content and Devices
                                              Start a Package Delivery                           Gift Cards
          Amazon Devices                      Business                                                                                                 Your Recalls and
                                                                                                 Amazon Currency Converter
          Amazon Science                                                                                                                               Product Safety Alerts
                                              Advertise Your Products
                                                                                                                                                       Help
                                              Self-Publish with Us
                                              Host an Amazon Hub
                                              ›See More Ways to Make
                                              Money




                                                                                     English                United States




          Amazon Music            Amazon Ads            6pm                            AbeBooks                     ACX              Sell on Amazon              Amazon
          Stream millions         Reach                 Score deals                    Books, art                   Audiobook        Start a Selling             Business
          of songs                customers             on fashion brands              & collectibles               Publishing       Account                     Everything
                                  wherever                                                                          Made Easy                                    For
                                  they                                                                                                                           Your
                                  spend their                                                                                                                    Business
                                  time

          Amp                     Amazon                AmazonGlobal                   Home Services                Amazon Web       Audible                     Box Office
          Host your own live      Fresh                 Ship Orders                    Experienced Pros             Services         Listen to Books &           Mojo
          radio show with         Groceries &           Internationally                Happiness                    Scalable Cloud   Original                    Find Movie
          music you love          More                                                 Guarantee                    Computing        Audio                       Box Office
                                  Right To Your                                                                     Services         Performances                Data
                                  Door

          Goodreads               IMDb                  IMDbPro                        Kindle Direct                Amazon Photos    Prime Video                 Shopbop
          Book reviews            Movies, TV            Get Info Entertainment         Publishing                   Unlimited        Direct                      Designer
          & recommendations       & Celebrities         Professionals Need             Indie Digital &              Photo Storage    Video                       Fashion
                                                                                       Print Publishing             Free With        Distribution                Brands
                                                                                       Made Easy                    Prime            Made Easy

          Amazon Warehouse        Whole Foods           Woot!                          Zappos                       Ring             eero WiFi                   Blink
          Great Deals on          Market                Deals and                      Shoes &                      Smart Home       Stream 4K Video             Smart
          Quality Used Products   America’s             Shenanigans                    Clothing                     Security         in Every Room               Security
                                  Healthiest                                                                        Systems                                      for Every
                                  Grocery Store                                                                                                                  Home

                                  Neighbors             Amazon Subscription            PillPack                     Amazon
                                  App                   Boxes                          Pharmacy                     Renewed
                                  Real-Time             Top subscription boxes         Simplified                   Like-new
                                  Crime                 – right to your door                                        products
                                  & Safety                                                                          you can trust
                                  Alerts



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              Second Webpage Showing Sale of
                 Infringing Product Type 1
                                 Case 2:23-cv-02000-WSS                                                                                                  Document 11-13                                                          Filed 11/20/23                                   Page 9 of 25



   Skip to main content   Delivering to Albany 12201
                                                                 All
                                                                                                                                                                                                                                                                                                                  Hello, sign in           Returns         0
                          Update location                                                                                                                                                                                                                                                         EN              Account & Lists          & Orders            Cart

       All    Holiday Deals     Medical Care               Best Sellers      Amazon Basics             Prime            Registry        New Releases                Today's Deals        Customer Service        Music      Whole Foods       Books      Fashion    Amazon Home        Pharmacy                Gift Cards               Join Prime today for deals

    Tools & Home Improvement      Best Sellers      Deals & Savings       Gift Ideas          Power & Hand Tools        Lighting & Ceiling Fans           Kitchen & Bath Fixtures        Smart Home       Shop by Room      Launchpad     Amazon Business




                                                                                                                                                                                                                                                                                                                                                          Sponsored
                                 Home & Kitchen › Storage & Organization          ›    Home Storage Hooks      ›   Utility Hooks


                                                                                                                                                             SHANDERBAR Purse Hanger for Closets,12 PCS Large
                                                                                                                                                             Hooks with 90 Degree Design and Unique Twisted                                                                       Enjoy fast, FREE delivery,
                                                                                                                                                                                                                                                                                  exclusive deals and award-
                                                                                                                                                             Appearance,Ideal for Bags, Belts, Scarves, Hats, and                                                                 winning movies & TV shows
                                                                                                                                                             Clothes,(Black)                                                                                                      with Prime
                                                                                                                                                             Visit the SHANDERBAR Store                                                                                           Try Prime and start saving today
                                                                                                                                                             4.7                   26 ratings                                                                                     with Fast, FREE Delivery
                                                                                                                                                               Amazon's Choice in Utility Hooks by SHANDERBAR
                                                                                                                                                                                                                                                                                   $
                                                                                                                                                             $
                                                                                                                                                                                                                                                                                       8 99 $0.75 Count)
                                                                                                                                                                                                                                                                                             (         /


                                                                                                                                                                 8 99 $0.75 Count)
                                                                                                                                                                        (    /
                                                                                                                                                                                                                                                                                   Get Fast, Free Shipping with
                                                                                                                                                             Get Fast, Free Shipping with Amazon Prime                                                                             Amazon Prime
                                                                                                                                                             FREE Returns                                                                                                          FREE Returns

                                                                                                                                                                      Best price                                                                                                   FREE delivery Monday,
                                                                                                                                                                                                                                                                                   November 20 on orders shipped
                                                                                                                                                                                                                                                                                   by Amazon over $35
                                                                                                                                                             Get a $60 gift card instantly: Pay $0.00 $8.99 upon approval for the Amazon Store Card. Find out
                                                                                                                                                             how                                                                                                                   Or fastest delivery Thursday,
                                                                                                                                                                                                                                                                                   November 16 Order within 11
                                                                                                                                                                                                                                                                                                           .

                                                                                                                                                             Color                            Black                                                                                hrs 31 mins
                                                                   Click image to open expanded view
                                                                                                                                                             Brand                            SHANDERBAR                                                                                 Delivering to Albany 12201 -
                                                                                                                                                             Material                         Alloy Steel                                                                                Update location
                                                                                                                                                             Finish Type                      Steel
                                                                                                                                                                                                                                                                                   In Stock
                                                                                                                                                             Mounting Type                    Hanging,Pole
                                                                                                                                                                                                                                                                                   Qty:
                                                                                                                                                                                                                                                                                    Qty: 1

                                                                                                                                                             About this item
                                                                                                                                                                                                                                                                                                  Add to Cart
                                                                                                                                                                 Premium quality: Made of durable steel with a soft rubber coating to prevent scratches on your
                                                                                                                                                                 items and hands, these closet rod hooks are built to last.                                                                          Buy Now
                                                                                                                                                                 Space-saving design: With a unique S-hook twist design, these bag hanger closet hooks are
Infringing Product                                                                                                                                               perfect for vertical storage and organization, and can also be used for kitchen utensils and tools.
                                                                                                                                                                 Versatile size: Featuring a large opening of 1.7-1.8 inches, these hooks fit all regular closet poles
                                                                                                                                                                                                                                                                                   Ships from
                                                                                                                                                                                                                                                                                   Sold by
                                                                                                                                                                                                                                                                                                  Amazon
                                                                                                                                                                                                                                                                                                  JRUIA

      Type 1
                                                                                                                                                                                                                                                                                   Returns        Returnable until Jan 31,
                                                                                                                                                                 up to 1.6 inches thick, making them easy to use in any space.
                                                                                                                                                                                                                                                                                                  2024
                                                                                                                                                                 Multi-functional: These heavy-duty S-shaped hooks are great for hanging a variety of items
                                                                                                                                                                                                                                                                                   Payment        Secure transaction
                                                                                                                                                                 from clothing and handbags to utensils and birdhouses, making them a practical gift for anyone.
                                                                                                                                                                 Value pack: Each pack comes with 12 black hooks, giving you enough for all your daily needs.                            Add a gift receipt for easy
                                                                                                                                                                 Our top priority is customer satisfaction, so please don't hesitate to contact us with any                              returns
                                                                                                                                                                 questions or concerns you may have.
                                                                                                                                                              › See more product details                                                                                               Add to List




                                                                                                                                                                 Sponsored



                                 Buy         it with


                                                                                                                                                                                                                                                                                                                            Sponsored
                                                                                                                                                                                                          Total price: $27.78
                                                                                 +                                                  +                                                                        Add all 3 to Cart



                                                                                                                                                                                                  Some of these items ship sooner than the
                                                                                                                                                                                                  others.
                                  This item: SHANDERBAR Purse                          NearMoon Self Adhesive Hand                       Scotch Duct Tape, Pink, 1.88-Inch                        Show details
                                  Hanger for Closets,12 PCS Large                      Towel Holder/Towel Ring,                          by 20-Yard
                                  Hooks with 90 Degree Design and                      Stainless Steel Hand Towel Bar                    $
                                                                                                                                             5 80
                                  $
                                      8 99 ($0.75/Count)                               $
                                                                                           12 99

                                 Products related to this item                                                                                                                                                                                                                                                         Page 1 of 35
                                 Sponsored




                                                 12 Pack Purse Hanger                        BESARME 15 Pack Purse                 12 Pack Purse Hanger                          CTOHN 20 Pack Purse               BCISIWOS Purse Hanger              Purse Hanger for Closet,    Purse Hangers 16 Pack
                                                 for Closet,Unique Twist                     Hanger for Closet,                    for Closet,Unique Twist                       Hanger for Closet,                for Closet, 10 Pack                Unique Twist Design Bag     Bag Hooks, Twist Shape
                                                 Design Bag Hanger Purse                     Unique Twist Design Bag               Design, Large Size Closet                     Unique Twist Design Bag           Handbag Hanger                     Hanger Purse Hooks,         Purse Hooks for Closet,
                                                 Hooks, Large S...                           Hanger Hooks, Purs...                 Rod Hooks fo...                               Hanger Purse Hooks, ...           Organizer Unique…                  Large Size Clo...           Large Size Clo...
                                                               1,307                                      314                      $9.39            ($0.78/Count)                             17                                 30                                 37                          42
                                                 $9.69       ($0.81/Count)                   $9.99    ($0.67/Count)                                                              $9.98    ($0.50/Count)            $6.99                              $9.99   ($0.83/Count)       $11.99


                                 4 stars and above                                                                                                                                                                                                                                                                     Page 1 of 58
                                 Sponsored




                                                 Yzerel 20pcs S Hooks                        HOME DEPUTY Purse                     Fitnice 10 Pack Purse                         Purse Hanger Purse                12 Pack Purse Hanger               BESARME 15 Pack Purse       HiGift 8 Pack Purse
Case 2:23-cv-02000-WSS                                                      Document 11-13                                           Filed 11/20/23                              Page 10 of 25



      Hanging Safety Buckle -     Organizer for Closet - 6       Hanger for Closet, S          Organizer for Closet,S        for Closet,Unique Twist   Hanger for Closet,        Hanger for Closet,
      3.5 inch Heavy Duty S       Bag Hooks - Black -            Hooks for Hanging             Hooks Twist Design Bag        Design Bag Hanger Purse   Unique Twist Design Bag   Unique Twist Design
      Hooks,Hanging Pl...         Purse Hangers for Cl...        Twisted Purse Hooks…          Hanger,Closet Rod ...         Hooks, Large S...         Hanger Hooks, Purs...     Bags Hanger Hooks,…
                    309                        511                            184                           439                            1,307                    314                       457
      $11.99    ($0.60/Fl Oz)     $12.50     ($2.08/Count)       $9.99   ($1.00/Count)         $8.98   ($1.12/Count)         $9.69   ($0.81/Count)     $9.99   ($0.67/Count)     $7.99


From the brand




                                                                     SHANDERBAR has always been committed to
                                                                     providing customers with high-quality products.
                                                                     Although the company is a small one, it has
                                                                     always helped customers achieve a simple and
                                                                     comfortable high-quality life, making things
                                                                     simpler, easier, and more thoughtful, and making
                                                                     customers' lives more colorful!




                                                                                                                                Product                                             Visit the store




Product Description
                                Perfect heavy-duty S-shaped hooks




                                Say goodbye to your messy wardrobe and make your life more enjoyable




                                Use our unique twist design bag hook to save more space and store more bags in the closet.
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                                           Multi functional and multi scenario use




                                           Kitchen                                         Bathroom                                              Outdoor
                                           You can use these unique twist design bag       Our Purse Hanger Purse Organizer for Closet           Used for hanging cups, bird houses,bird
                                           hooks in your kitchen to prevent kitchen        can not only be used in your wardrobe, but            feeders, displaying plants,pots and pans. It is
                                           utensils from being everywhere and make your    also hang your towels, clothes, and other items       your perfect helper for saving space.
                                           kitchen less messy                              in the bathroom, providing a better experience




Videos                                                                                                                                                                                                                          Page 1 of 3

       Videos for related products




                                                     0:30                                      0:29                                              1:00                                                0:50
             15 Pack Purse Hanger for Closet, for Better     Large Size Closet Rod Hooks                        My Review Of The 8 Pack S                   MEILIDY 3 Inch Reversible S Hooks   - Black              Are these purse   hooks




             Organized                                       Fitnice Official                                   Hooks for Hanging                           & Silver                                                 keep your purse
             zhangheting                                                                                        ✅ Abraham Reviews It For You                MEILIDY Official                                         Colleen Cupp




 Upload your video




Looking for specific info?



Product information

Technical Details                                                                                                     Additional Information

    Color                                                    ‎Black                                                      ASIN                                                      B0C1SMCC6W

    Brand                                                    ‎SHANDERBAR                                                 Customer Reviews                                          4.7                      26 ratings
                                                                                                                                                                                   4.7 out of 5 stars
    Material                                                 ‎Alloy Steel
                                                                                                                         Best Sellers Rank                                         #339,634 in Home & Kitchen ( See Top 100 in Home
    Finish Type                                              ‎Steel                                                                                                                & Kitchen )
                                                                                                                                                                                   #808 in Utility Hooks
    Mounting Type                                            ‎Hanging,Pole
                                                                                                                         Date First Available                                      April 7, 2023
    Style                                                    ‎Twisted

    Shape                                                    ‎Hands                                                   Warranty & Support
    Included Components                                      ‎no                                                       Amazon.com Return Policy Amazon.com Voluntary 30-Day Return Guarantee: You can return many items
                                                                                                                                                   :


                                                                                                                       you have purchased within 30 days following delivery of the item to you. Our Voluntary 30-Day Return
    Item Dimensions LxWxH                                    ‎7 x   5.12 x 2.76 inches
                                                                                                                       Guarantee does not affect your legal right of withdrawal in any way. You can find out more about the
    Number of Hooks                                          ‎12
                                                                                                                       exceptions and conditions here   .




    Maximum Weight Recommendation                            ‎3.5 Kilograms                                            Product Warranty: For warranty information about this product, please click here
    Manufacturer                                             ‎SHANDERBAR                                              Feedback
    Part Number                                              ‎A123                                                     Would you like to tell us about a lower price?
    Item Weight                                              ‎7.4 ounces

    Product Dimensions                                       ‎7 x   5.12 x 2.76 inches

    Country of Origin                                        ‎China

    Item model number                                        ‎A123

    Finish                                                   ‎Steel

    Batteries Required?                                      ‎No




        WARNING:
   CHOKING HAZARD -- Toy contains a small ball. Not for children under 3 yrs. To be used under the direct supervision of an adult



Compare with similar items
Case 2:23-cv-02000-WSS                                                                       Document 11-13                                                   Filed 11/20/23                                                 Page 12 of 25




                                       This item SHANDERBAR Purse                 12 Pack Purse Hanger for                  Purse Hanger Purse Organizer for                  Fitnice 10 Pack Purse Hanger for               BESARME 15 Pack Purse Hanger
                                       Hanger for Closets,12 PCS Large            Closet,Unique Twist Design Bag            Closet,S Hooks Twist Design Bag                   Closet, S Hooks for Hanging                    for Closet, Unique Twist Design
                                       Hooks with 90 Degree Design and            Hanger Purse Hooks, Large Size            Hanger,Closet Rod Hooks for                       Twisted Purse Hooks Heavy Duty S               Bag Hanger Hooks, Purse
                                       Unique Twisted Appearance,Ideal            Closet Rod Hooks for Hanging              Hanging                                           Hooks Handbag Hanger Organizer                 Organizer Hooks for Closet Large
                                       for Bags, Belts, Scarves, Hats, and        Necklace Bags, Purses, Handbags,          Handbags,Purses,Belts,Scarves,Hat                 Space Saving Closet Rod Hooks for              Closet S Hooks for Hanging
                                       Clothes,(Black)                            Belts, Scarves, Hats,Clothes, Pans        s,Clothes,Pots and Pans. (8 Pack                  Clothes, Bags, Plants, Pots (Black)            Handbags Purses Clothes(Black)
                                                                                  and Pots, Black                           Black)

                                           Add to Cart                                Add to Cart                               Add to Cart                                       Add to Cart                                     Add to Cart



  Customer Rating                                        (26)                                       (1307)                                    (439)                                             (184)                                           (314)
  Price                                $
                                           8 99                                   $
                                                                                      9 69                                  $
                                                                                                                                8 98                                          $
                                                                                                                                                                                  9 99                                       $
                                                                                                                                                                                                                                 9 99
  Shipping                             FREE Shipping on orders over               FREE Shipping on orders over              FREE Shipping on orders over                      FREE Shipping on orders over                   FREE Shipping on orders over
                                       $35.00 shipped by Amazon or get            $35.00 shipped by Amazon or get           $35.00 shipped by Amazon or get                   $35.00 shipped by Amazon or get                $35.00 shipped by Amazon or get
                                       Fast, Free Shipping with Amazon            Fast, Free Shipping with Amazon           Fast, Free Shipping with Amazon                   Fast, Free Shipping with Amazon                Fast, Free Shipping with Amazon
                                       Prime                                      Prime                                     Prime                                             Prime                                          Prime
  Sold By                              JRUIA                                      LiteViso                                  NEZA-US                                           Fitnice Official                               zhangheting
  Color                                Black                                      Black                                     Black                                             Black                                          Black
  Material                             Alloy Steel                                Rubber, Alloy Steel                       Metal, Vinyl                                      Stainless Steel, Plastic                       Vinyl




Videos for this product




                                                         1:06
                  Customer Review: Large hooks
                  that work great!
                  J'aime Morgaine




Important information
    To report an issue with this product, click here       .




Products related to this item                                                                                                                                                                                                                                Page 1 of 20
Sponsored




             Mawa by Reston Lloyd                 CoHoXXYY Acrylic Purse        HOME DEPUTY Purse              Merciown Rotatable Belt                12 Pack Purse Hanger                BESARME 15 Pack Purse                  12 Pack Purse Hanger
             Accessory Non-Slip                   Hanger Closet Keep Your       Organizer for Closet - 6       Hanger, Belt Rack for                  for Closet,Unique Twist             Hanger for Closet,                     for Closet,Unique Twist
             Space-Saving Clothes                 Totes and Backpacks           Bag Hooks - Gold - Purse       Closet Accessories                     Design Bag Hanger Purse             Unique Twist Design Bag                Design, Large Size Closet
             Hanger Hook for…                     Organized and in...           Hangers for Clo...             Organizer, Durable...                  Hooks, Large S...                   Hanger Hooks, Purs...                  Rod Hooks fo...
                          45                                   31                            511               $16.89      ($1.06/Ounce)                            1,307                              314                       $9.39    ($0.78/Count)
             $22.95    ($4.59/Count)              $18.58        ($4.65/Count)   $12.50       ($2.08/Count)                                            $9.69   ($0.81/Count)               $9.99         ($0.67/Count)
                                                                                                                Save 10% with coupon
                                                  Save 20% with coupon




                                                                                                                                                                                                                 Sponsored

Similar brands on Amazon                                                                                                                                                                                                                                      Page 1 of 2
Sponsored
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                HOME DEPUTY                                                                                      Rolly Hanger                                                                         SEEBRIDER
                Shop the Store on Amazon ›                                                                       Shop the Store on Amazon   ›                                                         Shop the Store on Amazon   ›




                                   HOME DEPUTY 6 Pack Purse Organizers                                                             Multipurpose Closet Hanger Organizer                                                 SEEBRIDER Purse Hanger Closet, Purse
                                   for Closet - 6 Bag Hooks - Silver - Purse                                                       ROLLY HANGER Great Space Saver Cut                                                   Holder for Closet Grey Backpack Hanger
                                   Hangers for Closet 511 with Unique Twisted                                                      Clutter in The 780 Closet Ideal Organizer for                                        $Hook
                                                                                                                                                                                                                          16 . 99for Organizer Storage Purses Tote
                                   Hook
                                   $ 12 . 50Design   which
                                               Typical:      Saves Space - Your
                                                         $13.50                                                                    $Belts,
                                                                                                                                     17 . 95Baseball   Hats, Ties, Scarves, Purses
                                                                                                                                               List: $20.00                                                             Bag Backpacks Handbags(10 Pack)
                                   Handbags Will Look Great in Your Closet                                                         and Much More Versatile Hanger




                                                                            Reviews with images                                                                                                             See all photos
Customer reviews
                    4.7 out of 5
26 global ratings

5 star                                    81%
4 star                                       9%
3 star                                       9%
2 star                                       0%
1 star                                       0%                             Read reviews that mention
   How customer reviews and ratings work                                         large enough                        hang bags         closet               hook      purses            items


                                                                                 space               belts                handy        metal                coated         hanger         hanging
Review this product
Share your thoughts with other customers                                         rod             rubber                  shape         degree               purpose         scarves         twisted


             Write a customer review
                                                                                Top reviews



                                                                            Top reviews from the United States

                                                                                            Texas-ness

                                                                                            Problem Solver for us
                                                                            Reviewed in the United States on May 17, 2023
                                                                            Vine Customer Review of Free Product What's this?                   (                 )


                                                                            For the closet, the tool shed, the doors, windows, the rear gate, for seasonal hangings that don't need a
                                                                            sticky strip, and can hang a pound or two safely.
                                                                                                             I


                                                                            My wife's purse collecting fetish clogging up her closet is why bought these. She hangs them from
                                                                                                                                                                       I


                                                                            hangers...multiple purses, bags, bras, handcuffs, latigo, bridle...everything in her closet, and these hooks
                                                                            became a great solution.
                                                                            They're coated in rubber or latex and tipped. Each hook has 2 hooks, and one is larger than the other...for
                                                                            more bags to hang on.
                                       Sponsored
                                                                            4 stars because feel like more than 2 pounds and they will begin bending. They are metal.
                                                                                                         I


                                                                            I will be ordering more.




                                                                                       Helpful                      Report


                                                                                            Marcie Dallas               VINE VOICE

                                                                                          Works good for light items
                                                                            Reviewed in the United States on August 1, 2023
                                                                            Vine Customer Review of Free Product What's this?                   (                 )


                                                                            These work great for what they are marketed for like belts and scarfs. They are easy to hang pretty much
                                                                            anywhere so you don't need a lot of space for them. They are nice to have for all the odd things that you
                                                                            don't have a place to hang.
                                                                                       Helpful                      Report


                                                                                            ring0 VINE VOICE

                                                                                          Well coated. Bendable if you really try.
                                                                            Reviewed in the United States on May 20, 2023
                                                                            Vine Customer Review of Free Product What's this?                   (                 )


                                                                            These hooks are very well coated (though wish knew with what - it doesn't smell like PVC).
                                                                                                                                                    I   I




                                                                            If you pull/push hard you can in fact bend them, so would want to use them for tools in the garage. For
                                                                                                                                                              I


                                                                            clothing they should be fine.
                                                                                       Helpful                      Report


                                                                                            Coco Leche VINE VOICE

                                                                                          Don't pass on these fantastic, versatile multi-purpose hooks!
                                                                            Reviewed in the United States on June 3, 2023
                                                                            Vine Customer Review of Free Product What's this?                   (                 )


                                                                            Ilove these hooks and are a great buy for just $1 apiece! These are large and better than regular S hooks.
                                                                            These twisted hooks are space savers that look and feel well-made and very sturdy. They’re described as
                                                                            being able to hold up to 50 pounds, and believe it.                 I




                                                                            These unique hooks are a great way to help you stay organized. imagine you can use them in every area of
                                                                                                                                                                            I


                                                                            your home. use one to hang my small ladder up in the basement so can stop kicking it as walk by the
                                                                                                 I                                                                                  I                      I


                                                                            place had it propped up in the kitchen. They make the best purse hangers, can be used to hang plants
                                                                                        I


                                                                            outside or belts in your bedroom closet, and are a stylish and durable way to hang your pots and pans in
                                                                            the kitchen.

                                                                            They are sleek and black, fitting any décor, and have rubber tips to protect your items and possibly keep
                                                                            the hooks from slipping off. They are also large enough to fit nearly any rod.
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                                                                                                  I wish had gotten some of these a long time ago. You should grab some so you can see how great they are
                                                                                                        I


                                                                                                  as well.




                                                                                                      Helpful              Report


                                                                                                            RIck Dean

                                                                                                                  Serve their intended purpose very well and are stronger than I assumed.
                                                                                                  Reviewed in the United States on May 30, 2023
                                                                                                  Vine Customer Review of Free Product What's this?     (                  )


                                                                                                  First off, these are marketed as closet hangers for bags, belts clothes etc. So, only tested them in that
                                                                                                                                                                                                    I


                                                                                                  capacity and only use them for that and they come in very handy as such. was looking for something to
                                                                                                                                                                                                I


                                                                                                  help organize my belts better in my closet and one of these holds quite a few of them in a fashion that                       I


                                                                                                  can clearly see which ones have hung.
                                                                                                                                     I




                                                                                                  These hooks have a rubber coating and are quite sturdy. pulled on them and it takes a bit of force to get
                                                                                                                                                                                I


                                                                                                  them to bend, much more force than any of the above listed items would place on them. The heaviest
                                                                                                  thing have in my closet is a tactical vest with front and back ballistic plates in it. hung that hanger from
                                                                                                        I                                                                                                I


                                                                                                  these hooks and there was no give at all. have used quite a few to hang my wife's bags in the back of the
                                                                                                                                                            I


                                                                                                  closet as well. Due to the shape of these hooks the bags hang with the smaller sides facing out, conserving
                                                                                                  space in the closet. am very happy stumbled across these and am very happy with them. will be getting
                                                                                                                           I                    I                                                               I


                                                                                                  more to hang more bags of my wife's.




                                                                                                      Helpful              Report


                                                                                                            SC

                                                                                                                 Convenient, fit on a variety of closet hanging solutions
                                                                                                  Reviewed in the United States on June 21, 2023
                                                                                                  Vine Customer Review of Free Product What's this?     (                  )


                                                                                                  These are big, they fit on every hanging rack on every closet in my house. Others only fit on the thinnest
                                                                                                  metal rods, but these fit larger rods as well. They are completely coated, not just the tips. Not sure what
                                                                                                  they're coated in, but it's kind of cushioned and grippy. Working nicely to hang bags in my closet. They
                                                                                                  seem very sturdy when used to hang bags. have one or two bags on each hook. Would order them again.
                                                                                                                                                                I



                                                                                                      Helpful              Report


                                                                                                            Zoe Bloom VINE VOICE

                                                                                                                 Exactly what I have been searching for!
                                                                                                  Reviewed in the United States on May 26, 2023
                                                                                                  Vine Customer Review of Free Product What's this?     (                  )


                                                                                                  You know how sometimes you know what you want but don't know the right thing to call it so it's very
                                                                                                  hard to search for it? That was exactly my situation with these hangers. had found variations of them that
                                                                                                                                                                                            I


                                                                                                  sort of solved the problem, but they involved threading the top part of the hanger on a rod, which made it
                                                                                                  impossible to remove without taking the whole rod down. These hangers are perfect! You can move them
                                                                                                  around so easily. They're so nice because things with handles, like purses, can neatly hang perpendicular to
                                                                                                  the wall. These hangers are really well-made. They are not at all flimsy and could hold a fair amount of
                                                                                                  weight if you needed them to. Don't hesitate. They are really great!
                                                                                                      Helpful              Report


                                                                                                            Whitney Sims         VINE VOICE

                                                                                                                 LIFE Saving
                                                                                                  Reviewed in the United States on May 30, 2023
                                                                                                  Vine Customer Review of Free Product What's this?     (                  )


                                                                                                  So glad found this the. hangers that came with the closet we use now easily. break upon placing a purse
                                                                                                             I


                                                                                                  on it. Even though it was meant for purses. These are so thick and durable. Can hang two purses if not
                                                                                                  more on one of these opposed to what was able to do before. I'm so happy. found this because it has
                                                                                                                                                    I                                               I


                                                                                                  been. a major struggle with my closet being so jam packed with bags. It's nice to have a simple. item that
                                                                                                  gives me the room that need. And don't have to worry about my son or bags being ruined by a cheap.
                                                                                                                                 I             I


                                                                                                  hanger. highly recommend these to anyone who is a bag enthusiast..
                                                                                                             I



                                                                                                      Helpful              Report


                                                                                                  See more reviews



                    Customers frequently viewed                                                                                                                                                                                                                            Page 1 of 19
                    Sponsored   |   Popular products in the last 7 days




                                    ZEDODIER 14 Pack Purse                SHANDERBAR 10 PCS           BCISIWOS 10 Pack S                      FSAH 17 Pcs S Hooks for               BESARME 15 Pack Purse             Myfolrena Purse Hangers   HiGift 12 Pack Large S
                                    Hooks for Closet,                     Heavy-Duty S                Hooks, S Hooks for                      Hanging Safety Buckle,                Hanger for Closet,                Bag Hooks Closet- 12      Hooks for Closet, 5 Inch
                                    Backpack Hanger Bag                   Hooks,Large Vinyl           Hanging, 3.5 Inch Non                   3.5 Inch Stainless Steel S            Unique Twist Design Bag           Pack Handbag Hanger       Rubber Coated S Hooks
                                    Holder, Closet Accesso...             Coated S Hooks for…         Slip Heavy Duty S…                      Shaped Lo...                          Hanger Hooks, Purs...             Organizer Metal S ...     for Hanging H...
                                                  100                                  42                          11                                       519                                  314                               227                        30
                                    $7.99    ($0.57/Count)                $6.99   ($0.70/Count)       $5.99      ($0.60/Count)                $6.99             ($0.41/Count)       $9.99       ($0.67/Count)         $9.99                     $9.99    ($0.83/Count)




                                                                                                                                                                                                                    Sponsored




Best Sellers in Home & Kitchen                                                                                                                                                                                                                                                            Page 1 of 6
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       Stanley Quencher H2.0             Bedsure Satin Pillowcase                 Queen Size 4 Piece Sheet              Utopia Bedding Throw                BISSELL Little Green                    Bedsure Fleece Bed                   Utopia Bedding Queen                    Amazon Basics                     Barossa Design Plastic
       FlowState Stainless Steel         for Hair and Skin Queen                  Set - Comfy Breathable                Pillows Insert (Pack of 2,          Multi-Purpose Portable                  Blankets Queen Size                  Bed Sheets Set - 4 Piece                Lightweight Super Soft            Shower Liner Clear -
       Vacuum Insulated                  - Silver Grey Silky                      & Cooling Sheets - Hotel              White) - 18 x 18 Inches             Carpet and Upholstery                   Grey - Soft Lightweight              Bedding - Brushed                       Easy Care Microfiber 3-           Premium PEVA Shower
       Tumbler with Lid and              Pillowcase 20x30 Inches                  Luxury Bed Sheets for                 Bed and Couch Pillows -             Cleaner, Car and65,003
                                                                                                                                                                                 Auto               Plush Fuzzy Cozy155,486
                                                                                                                                                                                                                          Luxury         Microfiber - Shrinkage                  Piece Bed Sheet Set with          Curtain Liner 48,883 with
       Straw for Water,  30,514
                              Iced Tea   - Set of 2 with296,284
                                                            Envelope              Women & Men292,228    - Deep                         177,010
                                                                                                                        Indoor Decorative                   Detailer,  with Exclusive
                                                                                                                                                             #1 Best Seller   in Carpet &           Blanket  Microfiber,
                                                                                                                                                                                                     #1 Best Seller   in Bed             and Fade Resistant -                    14-Inch Deep Pockets,             Low    returns Grommets
                                                                                                                                                                                                                                                                                                                   Rustproof
       or#1 Coffee,  Smoothie
             Best Seller   in Homeand&   Closure,   Similar in toBedSilk
                                           #1 Best Seller                         Pockets,    Easy-Fit,
                                                                                    #1 Best Seller         Extra &
                                                                                                       in Sheet         Pillows
                                                                                                                         #1 Best Seller in Throw            Specialty Tools,
                                                                                                                                                            Upholstery  CleaningGreen,              90x90 inches
                                                                                                                                                                                                    Blankets                                           161,476Grey)
                                                                                                                                                                                                                                         Easy Care (Queen,                                    474,678 Solid
                                                                                                                                                                                                                                                                                 Twin, Bright White,                 #1 Best
                                                                                                                                                                                                                                                                                                                   and          Seller in Shower
                                                                                                                                                                                                                                                                                                                          3 Magnets,
       More
       Kitchen                           Pillow Pillowcases
                                         Pillow   Cases, Gifts for                Soft & Wrinkle
                                                                                  Pillowcase   Sets Free                Pillow Inserts                      1400B
                                                                                                                                                            Machines                                                                     $ 21 . 95                               $ 15 . 91 ($5.30/Count)           Curtain Liners Cute
                                                                                                                                                                                                                                                                                                                   Waterproof
                                                                                                                                                                                                     48% off    Deal
       $ 35 . 00                         $ 6 . 98 ($3.49/Count)                   $ 29 . 99 - White Oeko-Tex            $ 16 . 99 ($8.50/Count)                                                                                                                                                                    $ 8 . 95
                                         Women      Men                           Sheets                                                                     28% off      Deal                      $ 20 . 89
                                                                                                                                                                                                                                         Get it as soon as Sunday,               Get it as soon as Sunday,         Lightweight         Standard
       Get it as soon as Wednesday,      Get it as soon as Sunday,                Bed
                                                                                  Get itSheet
                                                                                         as soonSetas Sunday,           Get it as soon as Sunday,                                                                                        Nov 19                                  Nov 19                            Get      as soon asCurtains
                                                                                                                                                                                                                                                                                                                   Size it Shower        Sunday, for
                                                                                                                                                            $ 89 . 00                               List: $39.99
       Nov 22                            Nov 19                                   Nov 19                                Nov 19                                                                                                           FREE Shipping on orders over            FREE Shipping on orders over      Nov 19
                                                                                                                                                                                                                                                                                                                   Bathroom         - Clear
                                                                                                                                                            List: $123.59                           Get it as soon as Monday,                                                                                      FREE Shipping on orders over
       FREE Shipping by Amazon           FREE Shipping on orders over             FREE Shipping on orders over          FREE Shipping on orders over                                                                                     $35 shipped by Amazon                   $35 shipped by Amazon
                                                                                                                                                            Get it as soon as Sunday,               Nov 20                                                                                                         $35 shipped by Amazon
                                         $35 shipped by Amazon                    $35 shipped by Amazon                 $35 shipped by Amazon                                                                                               Climate Pledge Friendly                  Climate Pledge Friendly
                                                                                                                                                            Nov 19                                  FREE Shipping on orders over
                                            Climate Pledge Friendly                  Climate Pledge Friendly               Climate Pledge Friendly
                                                                                                                                                            FREE Shipping by Amazon                 $35 shipped by Amazon


Customers who viewed items in your browsing history also viewed                                                                                                                                                                                                                                                                                        Page 1 of 6




       12 Pack Purse Hanger               Purse Hanger Purse                      BESARME 15 Pack Purse                  Fitnice 10 Pack Purse               ZEDODIER 14 Pack Purse                  Myfolrena Purse Hangers             GEZIDEA Purse Hanger S                   Yzerel 12Pcs S Hooks              MEILIDY S Hooks,
       for Closet,Unique Twist            Organizer for Closet,S                  Hanger for Closet,                     Hanger for Closet, S                Hooks for Closet,                       Bag Hooks Closet- 12                Hooks Twisted S Hooks                    Hanging Safety Buckle -           Reversible Black S
       Design Bag Hanger Purse            Hooks Twist Design Bag                  Unique Twist Design Bag                Hooks for Hanging                   Backpack Hanger Bag                     Pack Handbag Hanger                 Closet Rod Hooks for                     3.5 inch Heavy Duty S             Shaped Hooks 3 Inch
       Hooks, Large Size Closet           Hanger,Closet Rod                       Hanger Hooks, Purse                    Twisted Purse Hooks                 Holder, Closet                          Organizer Metal S                   Handbags,Bags,Clothes,P                  Hooks,Hanging Plants              Small Heavy Duty
       Rod Hooks for1,307   Hanging       Hooks for Hanging                       Organizer Hooks  314 for               Heavy Duty S Hooks                  Accessories Organizer S                 Hooks, Large Size Closet            ures,Hats,10Pack                         for Closet Hooks,                 Stainless Steel S
       Necklace
         Amazon's Bags,
                     Choice Purses,
                                in Tie                       439
                                          Handbags,Purses,Belts,S                 Closet   Large
                                                                                    Amazon's       Closetin S
                                                                                               Choice                    Handbag Hanger    184               Hook for Hanging 100                    Rod Hooks for229Hanging             (Large&90Deg)                            Clothes, Kitchen  315 Utensil,    Hanging Hooks107 for Pots
       Handbags, Belts,
       Racks                             $carves,Hats,Clothes,Pots
                                           8 . 98 ($1.12/Count)                   Hooks Hooks
                                                                                  Utility  for Hanging                  $Organizer      Space Saving
                                                                                                                          9 . 99 ($1.00/Count)              $Purses,    Handbags, Bags,
                                                                                                                                                              7 . 99 ($0.57/Count)                  $Handbags,Clothes,
                                                                                                                                                                                                      9 . 99                                                  353                $Pots
                                                                                                                                                                                                                                                                                   6 . 12and($0.51/Fl
                                                                                                                                                                                                                                                                                               Pans, Bags
                                                                                                                                                                                                                                                                                                       Oz)         $Pans
                                                                                                                                                                                                                                                                                                                     9 . 99Cups Mugs Curtains
       Scarves,    Hats,Clothes,
       $ 9 . 69 ($0.81/Count)             and itPans.
                                          Get    as soon(8 asPack  Black)
                                                               Sunday,            Handbags      Purses
                                                                                  $ 9 . 99 ($0.67/Count)                 Closet
                                                                                                                         Get it as Rod
                                                                                                                                    soon Hooks   for
                                                                                                                                          as Monday,         Belts,
                                                                                                                                                             Get it asScarves,  Hats,
                                                                                                                                                                        soon as Sunday,              Curtain,   Plant,as Sunday,
                                                                                                                                                                                                     Get it as soon       Pans and                                                (Black)
                                                                                                                                                                                                                                                                                  Get it as soon as Sunday,         Pants
                                                                                                                                                                                                                                                                                                                    Get it asPlants
                                                                                                                                                                                                                                                                                                                               soon asTools  - 12
                                                                                                                                                                                                                                                                                                                                        Sunday,
       Pans
       Get it and    Pots,
               as soon      Black
                        as Sunday,       Nov 19                                   Clothes(Black)
                                                                                  Get it as soon as Sunday,              Clothes,
                                                                                                                        Nov    20 Bags, Plants,              Clothes,
                                                                                                                                                            Nov    19 and Plant, Silver              Pots 19
                                                                                                                                                                                                    Nov                                                                          Nov 19                             Pcs 19
                                                                                                                                                                                                                                                                                                                    Nov
       Nov 19                            FREE Shipping on orders over             Nov 19                                 Pots Shipping
                                                                                                                         FREE   (Black) on orders over      FREE Shipping on orders over            FREE Shipping on orders over                                                 FREE Shipping on orders over      FREE Shipping on orders over
       FREE Shipping on orders over      $35 shipped by Amazon                    FREE Shipping on orders over          $35 shipped by Amazon               $35 shipped by Amazon                   $35 shipped by Amazon                                                        $35 shipped by Amazon             $35 shipped by Amazon
       $35 shipped by Amazon                                                      $35 shipped by Amazon




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                                                                            About Amazon                                   Supply to Amazon                                                                                                            Policies
                                                                                                                                                                                      Amazon Business Card
                                                                            Accessibility                                  Protect & Build Your                                                                                                        Amazon Prime
                                                                                                                           Brand                                                      Shop with Points
                                                                            Sustainability                                                                                                                                                             Returns &
                                                                                                                           Become an Affiliate                                        Credit Card Marketplace                                          Replacements
                                                                            Press Center
                                                                                                                           Become a Delivery Driver                                   Reload Your Balance                                              Manage Your
                                                                            Investor Relations                                                                                                                                                         Content and Devices
                                                                                                                           Start a Package Delivery                                   Gift Cards
                                                                            Amazon Devices                                 Business                                                                                                                    Your Recalls and
                                                                                                                                                                                      Amazon Currency Converter
                                                                            Amazon Science                                                                                                                                                             Product Safety Alerts
                                                                                                                           Advertise Your Products
                                                                                                                                                                                                                                                       Help
                                                                                                                           Self-Publish with Us
                                                                                                                           Host an Amazon Hub
                                                                                                                           ›See More Ways to Make
                                                                                                                           Money




                                                                                                                                                                          English                  United States




                                                                            Amazon Music                       Amazon Ads              6pm                                  AbeBooks                      ACX                        Sell on Amazon                 Amazon
                                                                            Stream millions                    Reach                   Score deals                          Books, art                    Audiobook                  Start a Selling                Business
                                                                            of songs                           customers               on fashion brands                    & collectibles                Publishing                 Account                        Everything
                                                                                                               wherever                                                                                   Made Easy                                                 For
                                                                                                               they                                                                                                                                                 Your
                                                                                                               spend their                                                                                                                                          Business
                                                                                                               time

                                                                            Amp                                Amazon                  AmazonGlobal                         Home Services                 Amazon Web                 Audible                        Box Office
                                                                            Host your own live                 Fresh                   Ship Orders                          Experienced Pros              Services                   Listen to Books &              Mojo
                                                                            radio show with                    Groceries &             Internationally                      Happiness                     Scalable Cloud             Original                       Find Movie
                                                                            music you love                     More                                                         Guarantee                     Computing                  Audio                          Box Office
                                                                                                               Right To Your                                                                              Services                   Performances                   Data
                                                                                                               Door

                                                                            Goodreads                          IMDb                    IMDbPro                              Kindle Direct                 Amazon Photos              Prime Video                    Shopbop
                                                                            Book reviews                       Movies, TV              Get Info Entertainment               Publishing                    Unlimited                  Direct                         Designer
                                                                            & recommendations                  & Celebrities           Professionals Need                   Indie Digital &               Photo Storage              Video                          Fashion
                                                                                                                                                                            Print Publishing              Free With                  Distribution                   Brands
                                                                                                                                                                            Made Easy                     Prime                      Made Easy

                                                                            Amazon Warehouse                   Whole Foods             Woot!                                Zappos                        Ring                       eero WiFi                      Blink
                                                                            Great Deals on                     Market                  Deals and                            Shoes &                       Smart Home                 Stream 4K Video                Smart
                                                                            Quality Used Products              America’s               Shenanigans                          Clothing                      Security                   in Every Room                  Security
                                                                                                               Healthiest                                                                                 Systems                                                   for Every
                                                                                                               Grocery Store                                                                                                                                        Home

                                                                                                               Neighbors               Amazon Subscription                  PillPack                      Amazon
                                                                                                               App                     Boxes                                Pharmacy                      Renewed
                                                                                                               Real-Time               Top subscription boxes               Simplified                    Like-new
                                                                                                               Crime                   – right to your door                                               products
                                                                                                               & Safety                                                                                   you can trust
                                                                                                               Alerts
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               Third Webpage Showing Sale of
                 Infringing Product Type 1
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                         Delivering to Albany 12201                                                                                                                                                                                                                                      Hello, sign in             Returns         0
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       All   Holiday Deals      Medical Care          Best Sellers      Amazon Basics          Prime             Registry   New Releases       Today's Deals            Customer Service      Music   Whole Foods       Books     Fashion      Amazon Home            Pharmacy           Gift Cards             Get a jump on holiday gifts


    Amazon Home               Shop by Room                           Discover                             Shop by Style                     Home Décor                            Furniture                   Kitchen & Dining                     Bed & Bath                                Garden & Outdoor              Home Improvement




                                                                                                                                                                                                                                                                                                                                   Sponsored
                                Home & Kitchen › Storage & Organization    ›    Home Storage Hooks   ›   Utility Hooks


                                                                                                                                                    BCISIWOS Purse Hanger for Closet, 10 Pack
                                                                                                                                                    Handbag Hanger Organizer Unique Twist Design Bag                                                            Enjoy fast, FREE delivery,

                                                                                                                                                    Hanger Purse Hooks, Large Size Closet Rod Hooks                                                             exclusive deals and award-
                                                                                                                                                                                                                                                                winning movies & TV shows
                                                                                                                                                    for Hanging Purses, Handbags, Clothes, Plant,                                                               with Prime
                                                                                                                                                                                                                                                                Try Prime and start saving today
                                                                                                                                                    Pots(Black)                                                                                                 with Fast, FREE Delivery
                                                                                                                                                    Brand: BCISIWOS
                                                                                                                                                    4.7                         30 ratings
                                                                                                                                                                                                                                                                $
                                                                                                                                                     Amazon's Choice         in Utility Hooks by BCISIWOS                                                           6 99
                                                                                                                                                    100+ bought in past month                                                                                   Get Fast, Free Shipping with
                                                                                                                                                                                                                                                                Amazon Prime
                                                                                                                                                                                                                                                                FREE Returns
                                                                                                                                                     Lowest price in 30 days
                                                                                                                                                                                                                                                                FREE delivery Sunday,
                                                                                                                                                    -8% $ 6 99                                                                                                  November 19 on orders shipped
                                                                                                                                                    Typical price: $7.59                                                                                        by Amazon over $35
                                                                                                                                                    Get Fast, Free Shipping with Amazon Prime
                                                                                                                                                                                                                                                                Or fastest delivery Thursday,
                                                                                                                                                    FREE Returns
                                                                                                                                                                                                                                                                November 16 . Order within 10
                                                                                                                                                              Best price                                                                                        hrs 59 mins

                                                                                                                                                                                                                                                                      Delivering to Albany 12201 -
                                                                         Roll over image to zoom in                                                 Get a $60 gift card instantly: Pay $0.00 $6.99 upon approval for the Amazon Store Card.                           Update location
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                                                                                                                                                    Color: Black
                                                                                                                                                                                                                                                                Qty:
                                                                                                                                                                                                                                                                 Qty: 1


                                                                                                                                                                $6.99              $7.99
                                                                                                                                                                                                                                                                                  Add to Cart

                                                                                                                                                    Color                         Black                                                                                            Buy Now


  Infringing
                                                                                                                                                    Brand                         BCISIWOS
                                                                                                                                                                                                                                                                Ships from    Amazon
                                                                                                                                                    Material                      Stainless Steel                                                               Sold by       CJ Emerald

Product Type 1                                                                                                                                      Finish Type
                                                                                                                                                    Mounting Type
                                                                                                                                                                                  Metal
                                                                                                                                                                                  Ceiling Mount, Door Mount, Wall Mount
                                                                                                                                                                                                                                                                Returns

                                                                                                                                                                                                                                                                Payment
                                                                                                                                                                                                                                                                              Returnable until Jan 31,
                                                                                                                                                                                                                                                                              2024
                                                                                                                                                                                                                                                                              Secure transaction

                                                                                                                                                    About this item                                                                                                   Add a gift receipt for easy
                                                                                                                                                                                                                                                                      returns
                                                                                                                                                         Unique Twist Design Gives You More Space in Your Closet: We've improved the regular
                                                                                                                                                         S-hooks by rotating them 90 degrees so you can use these purse hooks to neatly hang
                                                                                                                                                         purses, jeans, belts, hats, necklaces and more in your closet. Not only do these purse                     Add to List
                                                                                                                                                         hangers save you a lot of space in your closet, but they also give your closet an
                                                                                                                                                         organized and distinctive look. The twist of the purse hanger also makes them easy to
                                                                                                                                                         put on and take off!
                                                                                                                                                         Rubber Coated Surface & Rubber Caps Design: The purse closet organizer is coated
                                                                                                                                                         with a vinyl rubber coating. The rubberized coating not only prevents sliding and keeps all
                                                                                                                                                         your items spaced out, it also prevents rust and scratches. The hooks have small rubber
                                                                                                                                                         caps on each end to protect your handbag and fingers. If you're worried about damage to
                                                                                                                                                         your handbag from snagging on the edges, then these handbag hooks are the way to go.
                                                                                                                                                         4.5 Inch Closet Rod Hooks: The handbag organizer measures 1.7 inches in one opening
                                                                                                                                                         and 1.8 inches in the other and fits all regular closet rods less than 1.6 inches thick. With
                                                                                                                                                         a diameter thickness of 5mm, these backpack hooks are lightweight and portable, yet
                                                                                                                                                         strong enough to secure items weighing up to 22 pounds for your everyday needs. These
                                                                                                                                                         hooks for backpacks are perfectly sized to fit a variety of purses, bags and backpack
                                                                                                                                                         handles.
                                                                                                                                                         Handy and Sturdy: Package comes with 10 pack black hanger hooks. Not require to use                                                      Sponsored

                                                                                                                                                         tools,nails, screws, or adhesives, these handbag organizers are easy to hang on existing
                                                                                                                                                         objects. The bag hanger hook itself are metal and very solid, super helpful and durable.
                                                                                                                                                         Various Application: These closet purse hooks are great for hanging purses, book bags,
                                                                                                                                                         backpacks, duffle bags, tote bags, porting bags, laptop totes, travel, belts, scarves, hats,
                                                                                                                                                         towels, gym shorts, coffee mugs, robes, bras, bathing suits, bikinis, plant, wind chimes,
                                                                                                                                                         wreaths, Christmas stockings, brooms, dusters, and mops cleaning tools etc. The heavy
                                                                                                                                                         bag hanger is also perfect for organizing closets and garages.

                                                                                                                                                    Customer ratings by feature

                                                                                                                                                    Easy to use                                               5.0

                                                                                                                                                    Sturdiness                                                5.0

                                                                                                                                                    Versatility                                               4.8

                                                                                                                                                    See all reviews




                                                                                                                                                     Sponsored




                                 Frequently bought together


                                                                                                                                       Total price: $12.98

                                                                           +                                                               Add both to Cart



                                                                                                                                These items are shipped from and sold by
                                                                                                                                different sellers.
                                 This item: BCISIWOS Purse                       Waitkey 8 Pack S Hooks for                     Show details
                                 Hanger for Closet, 10 Pack                      Hanging, 3.5 inch Heavy Duty
                                 Handbag Hanger Organizer                        Metal S Shaped Hooks with Safety
                                 $
                                     6 99                                        $
                                                                                     5 99
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4 stars and above                                                                                                                                                                                     Page 1 of 58
Sponsored




            ZEDODIER 14 Pack            Myfolrena Purse Hangers   ZEDODIER Purse              HiGift 8 Pack Purse      BESARME 15 Pack            12 Pack Purse Hanger      Purse Hanger Purse
            Purse Hooks for Closet,     Bag Hooks Closet- 12      Hanger Organizer for        Hanger for Closet,       Purse Hanger for Closet,   for Closet,Unique Twist   Organizer for Closet,S
            Backpack Hanger Bag         Pack Handbag Hanger       Closet, 2 Pack Rotatable    Unique Twist Design      Unique Twist Design Bag    Design Bag Hanger         Hooks Twist Design Bag
            Holder, Closet Accesso...   Organizer Metal S ...     Hanging Bag Holder,…        Bags Hanger Hooks,…      Hanger Hooks, Purs...      Purse Hooks, Large S...   Hanger,Closet Rod ...
                          100                        227                        213                         457                     314                         1,307                     439
            $7.99                       $9.99                     $12.99    ($6.50/Count)     $7.99                    $9.99   ($0.67/Count)      $9.69   ($0.81/Count)     $8.98    ($1.12/Count)




Products related to this item                                                                                                                                                                         Page 1 of 35
Sponsored




            BESARME 15 Pack             12 Pack Purse Hanger      ZEDODIER 14 Pack            Purse Hanger Purse       Purse Hanger for Closet,   CTOHN 20 Pack Purse       CertBuy 20 Pack Purse
            Purse Hanger for Closet,    for Closet,Unique Twist   Purse Hooks for Closet,     Organizer for Closet,S   Unique Twist Design Bag    Hanger for Closet,        Hanger for Closet, 4.5"
            Unique Twist Design Bag     Design Bag Hanger         Backpack Hanger Bag         Hooks Twist Design Bag   Hanger Purse Hooks,        Unique Twist Design Bag   Unique Twist Design Bag
            Hanger Hooks, Purs...       Purse Hooks, Large S...   Holder, Closet Accesso...   Hanger,Closet Rod ...    Large Size Clo...          Hanger Purse Hooks, ...   Hanger Purse ...
                         314                          1,307                     100                         439                      37                        17                        1
            $9.99    ($0.67/Count)      $9.69   ($0.81/Count)     $7.99    ($0.57/Count)      $8.98   ($1.12/Count)    $9.99   ($0.83/Count)      $9.98   ($0.50/Count)     $15.99



Product Description
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                                             Purse Hanger     Purse Hook      S Hooks     S Hook

                                  Size           4.5 Inch        4.5 Inch      3.5 Inch   3.5 Inch

                                 Color            Black           White         Black       Black

                                Material       Vinyl Coated    Vinyl Coated     Metal       Metal

                                Quantity            10              12            10          8

                             Rubber Coated          ✓               ✓             ✓           ✓

                               Anti Rust            ✓               ✓             ✓           ✓




Looking for specific info?



Product information
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   Color                                                    Black                                                             Warranty & Support

   Brand                                                    BCISIWOS                                                          Product Warranty: For warranty information about this product, please click here

   Material                                                 Stainless Steel                                                   Feedback
   Finish Type                                              Metal                                                             Would you like to tell us about a lower price?

   Mounting Type                                            Ceiling Mount, Door Mount, Wall Mount

   Style                                                    Contemporary

   Weight Limit                                             22 Pounds

   Special Feature                                          Heavy Duty, Non Slip, Rust Resistant

   Recommended Uses For Product                             Hangers, Purse, Utility, Kitchen, Closet, Cup And
                                                            Mug, Bag, Handbag, Hat, Hall Trees, Offices

   Shape                                                    S Shape

   Theme                                                    Purse Hanger

   Item Weight                                              3.84 Ounces

   Item Dimensions LxWxH                                    3.5 x 1.5 x 0.65 inches

   Number of Hooks                                          10

   Minimum Weight Capacity                                  22 Pounds

   Surface Recommendation                                   Metal

   Maximum Weight Recommendation                            22 Pounds

   Product Dimensions                                       3.5 x 1.5 x 0.65 inches

   Item Weight                                              3.84 ounces

   Manufacturer                                             BCISIWOS

   ASIN                                                     B0BY6MRN1H

   Country of Origin                                        China

   Item model number                                        S Hooks CJ 20230312

   Customer Reviews                                         4.7                       30 ratings
                                                            4.7 out of 5 stars

   Best Sellers Rank                                        #109,088 in Home & Kitchen       (   See Top 100 in Home
                                                            & Kitchen )
                                                            #332 in Utility Hooks

   Specific instructions for use                            Professional

   Finish types                                             Metal

   Batteries required                                       No




Videos                                                                                                                                                                                                                            Page 1 of 2

       Videos for related products




                                                    0:30                                                0:46                                           0:29                                             0:43
           15 Pack Purse Hanger for Closet, for            CTOHN Purse Hangers for Closet                        Large Size Closet Rod Hooks                            Are these purse hooks gonna              S Hooks Hanging Safety
           Better Organized                                JINGWEI-US                                            Fitnice Official                                       keep your purse looking nice?            Gardening House
           zhangheting                                                                                                                                                  Colleen Cupp




 Upload your video




Important information
   To report an issue with this product, click here .




Compare with similar items
Case 2:23-cv-02000-WSS                                                                               Document 11-13                                                       Filed 11/20/23                                                  Page 22 of 25




                                         This item BCISIWOS Purse                        Purse Hanger Purse Organizer for             12 Pack Purse Hanger for                            BESARME 15 Pack Purse Hanger                      ZEDODIER 14 Pack Purse Hooks
                                         Hanger for Closet, 10 Pack                      Closet,S Hooks Twist Design Bag              Closet,Unique Twist Design Bag                      for Closet, Unique Twist Design                   for Closet, Backpack Hanger Bag
                                         Handbag Hanger Organizer Unique                 Hanger,Closet Rod Hooks for                  Hanger Purse Hooks, Large Size                      Bag Hanger Hooks, Purse                           Holder, Closet Accessories
                                         Twist Design Bag Hanger Purse                   Hanging                                      Closet Rod Hooks for Hanging                        Organizer Hooks for Closet Large                  Organizer S Hook for Hanging
                                         Hooks, Large Size Closet Rod                    Handbags,Purses,Belts,Scarves,Ha             Necklace Bags, Purses, Handbags,                    Closet S Hooks for Hanging                        Purses, Handbags, Bags, Belts,
                                         Hooks for Hanging Purses,                       ts,Clothes,Pots and Pans. (8 Pack            Belts, Scarves, Hats,Clothes, Pans                  Handbags Purses Clothes(Black)                    Scarves, Hats, Clothes, and Plant,
                                         Handbags, Clothes, Plant,                       Black)                                       and Pots, Black                                                                                       Silver
                                         Pots(Black)

                                             Add to Cart                                      Add to Cart                                  Add to Cart                                        Add to Cart                                        Add to Cart



  Customer Rating                                           (30)                                            (439)                                        (1307)                                             (314)                                              (100)

                                         $
  Price                                      6 99                                        $
                                                                                             8 98                                     $
                                                                                                                                          9 69                                            $
                                                                                                                                                                                              9 99                                          $
                                                                                                                                                                                                                                                7 99
  Shipping                               FREE Shipping on orders over                    FREE Shipping on orders over                 FREE Shipping on orders over                        FREE Shipping on orders over                      FREE Shipping on orders over
                                         $35.00 shipped by Amazon or get                 $35.00 shipped by Amazon or get              $35.00 shipped by Amazon or get                     $35.00 shipped by Amazon or get                   $35.00 shipped by Amazon or get
                                         Fast, Free Shipping with Amazon                 Fast, Free Shipping with Amazon              Fast, Free Shipping with Amazon                     Fast, Free Shipping with Amazon                   Fast, Free Shipping with Amazon
                                         Prime                                           Prime                                        Prime                                               Prime                                             Prime

  Sold By                                CJ Emerald                                      NEZA-US                                      LiteViso                                            zhangheting                                       ZEDODIER

  Color                                  Black                                           Black                                        Black                                               Black                                             Silver

  Material                               Stainless Steel                                 Metal, Vinyl                                 Rubber, Alloy Steel                                 Vinyl                                             Metal




Products related to this item                                                                                                                                                                                                                                               Page 1 of 20
Sponsored




             Purse Hangers 16 Pack                    CoHoXXYY Acrylic Purse          HOME DEPUTY Purse                    Simple Houseware                       BESARME 15 Pack                       12 Pack Purse Hanger                    ZEDODIER 14 Pack
             Bag Hooks, Twist Shape                   Hanger Closet Keep Your         Organizer for Closet - 6             Standing Coat and Hat                  Purse Hanger for Closet,              for Closet,Unique Twist                 Purse Hooks for Closet,
             Purse Hooks for Closet,                  Totes and Backpacks             Bag Hooks - Gold - Purse             Hanger Organizer Rack,                 Unique Twist Design Bag               Design Bag Hanger                       Backpack Hanger Bag
             Large Size Clo...                        Organized and in...             Hangers for Clo...                   12 Hooks Turquoise                     Hanger Hooks, Purs...                 Purse Hooks, Large S...                 Holder, Closet Accesso...
                           42                                      31                               511                                 15,368                                 314                                    1,307                                   100
             $11.99                                   $18.58       ($4.65/Count)      $12.50        ($2.08/Count)          $22.97                                 $9.99   ($0.67/Count)                 $9.69       ($0.81/Count)               $7.99    ($0.57/Count)




                                                                                                                                                                                                                              Sponsored


Similar brands on Amazon                                                                                                                                                                                                                                                     Page 1 of 2
Sponsored


                    GLUIT                                                                               SEEBRIDER                                                                             Rolly Hanger
                    Shop the Store on Amazon ›                                                          Shop the Store on Amazon ›                                                            Shop the Store on Amazon ›




                                       GLUIT Adhesive Hooks Heavy Duty 22 lbs                                             SEEBRIDER Purse Hanger Closet, Purse                                                       Multipurpose Closet Hanger Organizer
                                       Robe Towel Hooks Waterproof Adhesive                                               Holder for Closet Grey Backpack Hanger                                                     ROLLY HANGER Great Space Saver Cut
                                                                                                                          $Hook
                                       Wall Hooks for16,554
                                                         Home Bathroom Kitchen                                             16 . 99for Organizer Storage Purses Tote                                                  Clutter in The 780
                                                                                                                                                                                                                                     Closet Ideal Organizer for
                                      $Office andList:                                                                                                                                                              $Belts, Baseball
                                        12 . 99 Outdoor$16.99 12 Pack                                                     Bag Backpacks Handbags(10 Pack)                                                             17 . 95 List: $20.00
                                                                                                                                                                                                                                       Hats, Ties, Scarves, Purses
                                                                                                                                                                                                                     and Much More Versatile Hanger




                                                                                   Reviews with images                                                                                               See all photos
Customer reviews
                    4.7 out of 5
30 global ratings

5 star                                              80%

4 star                                              15%

3 star                                               5%

2 star                                               0%

1 star                                               0%                            Top reviews


   How customer reviews and ratings work
                                                                                   Top reviews from the United States
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By feature                                                                          Speech Lady

                                                                                         Great “twist” to the standard hook
Easy to use                                          5.0
                                                                           Reviewed in the United States on November 11, 2023
Sturdiness                                           5.0                   Color: Black   Verified Purchase
                                                                           This twisted hook solved my problem in my camper closet. I needed to hang a basket but couldn’t do it
Versatility                                          4.8
                                                                           without the twist in the hook. These are excellent and solved my problem perfectly.

                                                                                  Helpful          Report


Review this product                                                                 Quincy
Share your thoughts with other customers
                                                                                         Hooks are a lot bigger than pictured
                                                                           Reviewed in the United States on October 22, 2023
               Write a customer review
                                                                           Color: Black   Verified Purchase
                                                                           I   like the shape and durability but way bigger than expected!!! I could use some that are thinner and smaller!

                                                                                  Helpful          Report


                                                                                    SP

                                                                                         Great buy
                                                                           Reviewed in the United States on September 29, 2023
                                                                           Color: Black   Verified Purchase
                                                                           Perfect for hanging my braid extensions

                                                                                  Helpful          Report


                                                                                    J. Rich

                                                                                         Great! Just what needed!
                                         Sponsored
                                                                           Reviewed in the United States on September 20, 2023
                                                                           Color: Black   Verified Purchase
                                                                           Perfect hooks . Great quality! Great if you need things facing forward. Used them for hanging wind chimes!




                                                                                  Helpful          Report


                                                                                    J

                                                                                         Great for hanging bags!
                                                                           Reviewed in the United States on August 14, 2023
                                                                           Color: Black   Verified Purchase
                                                                           Great for getting bags of the floor and making space! These work really well. Work well for cruises too

                                                                           One person found this helpful

                                                                                  Helpful          Report


                                                                                    ali

                                                                                         They work!!
                                                                           Reviewed in the United States on August 11, 2023
                                                                           Color: Black   Verified Purchase
                                                                           These little hangers work great! They are durable and do exactly what     I   wanted. I hang my purses, bags and
                                                                           towels on them.

                                                                           One person found this helpful

                                                                                  Helpful          Report


                                                                                    anita

                                                                                         Great for organizing the camper!
                                                                           Reviewed in the United States on August 25, 2023
                                                                           Color: Black   Verified Purchase
                                                                           So many options

                                                                           One person found this helpful

                                                                                  Helpful          Report



                                                                           See more reviews




More from frequently bought brands                                                                                                                                                                                               Page 1 of 22
Sponsored




              Maitys 18 Pieces Purse           HiGift 12 Pack Large S            Purse Organizer for             Purses Hanger Organizer         Myfolrena Purse Hangers         HiGift 8 Pack Purse   Antimbee 10-Pack All-
              Hanger Hook Acrylic Bag          Hooks for Closet, 5 Inch          Closet, 360 Degree              for Closet, Myfolrena           Bag Hooks Closet- 12            Hanger for Closet,    Purpose Large Adhesive
              Hanger Handbag Tote              Rubber Coated S Hooks             Swivel Purse Hanger Bag         Metal Purse Holder for          Pack Handbag Hanger             Unique Twist Design   Hooks for Hanging,
              Bag Rack Holder ...              for Hanging H...                  Hook Organizer- Velv...         Closet Space S...               Organizer Metal S ...           Bags Hanger Hooks,…   Heavy Duty Hold 37 l...
                           13                                30                               42                                313                           227                              457                  7,125
              $29.99    ($1.67/Count)          $9.99       ($0.83/Count)         $7.99                           $6.99    ($0.58/Fl Oz)          $9.99                           $7.99                 $9.91    ($0.99/Count)
                                                                                  Save 10% with coupon
                                                                                                                                                                                                       Save $1.00 with coupon




                                                                                                                                                                               Sponsored
                          Case 2:23-cv-02000-WSS                                                                                             Document 11-13                                                                 Filed 11/20/23                                              Page 24 of 25



Best Sellers in Home & Kitchen                                                                                                                                                                                                                                                                                                                             Page 1 of 6




       Stanley Quencher H2.0              Bedsure Satin Pillowcase                    Queen Size 4 Piece                      Utopia Bedding Throw                  BISSELL Little Green                      Bedsure Fleece Bed                  Utopia Bedding Queen                  Amazon Basics                    Barossa Design Plastic
       FlowState Stainless Steel          for Hair and Skin Queen -                   Sheet Set - Comfy                       Pillows Insert (Pack of 2,            Multi-Purpose Portable                    Blankets Queen Size                 Bed Sheets Set - 4 Piece              Lightweight Super Soft           Shower Liner Clear -
       Vacuum Insulated                   Silver Grey Silky                           Breathable & Cooling                    White) - 18 x 18 Inches               Carpet and Upholstery                     Grey - Soft Lightweight             Bedding - Brushed                     Easy Care Microfiber 3-          Premium PEVA Shower
       Tumbler with Lid and               Pillowcase 20x30 Inches                     Sheets - Hotel Luxury                   Bed and Couch Pillows -               Cleaner, Car 65,003
                                                                                                                                                                                    and Auto                                 155,486Luxury
                                                                                                                                                                                                              Plush Fuzzy Cozy                    Microfiber - Shrinkage                Piece Bed Sheet Set with         Curtain Liner with
       Straw for Water,  30,515
                              Iced Tea    - Set of 2 with 296,284
                                                             Envelope                 Bed Sheets for292,229Women &                            177,011Pillows
                                                                                                                              Indoor Decorative                     Detailer, with Exclusive
                                                                                                                                                                     #1 Best Seller   in Carpet &             Blanket
                                                                                                                                                                                                               #1 Best Microfiber,
                                                                                                                                                                                                                       Seller in Bed90x90         and Fade Resistant -                  14-Inch Deep Pockets,            Rustproof Grommets 48,883 and
       or#1 Coffee,  Smoothie
             Best Seller    in Home
                                  and&    Closure,     Similar intoBed
                                            #1 Best Seller           Silk             Men
                                                                                       #1 Best- Deep
                                                                                                  SellerPockets,
                                                                                                           in Sheet &           #1 Best Seller in Throw             Specialty
                                                                                                                                                                    Upholstery Tools,
                                                                                                                                                                               CleaningGreen,                 inches
                                                                                                                                                                                                              Blankets                                          161,477 Grey)
                                                                                                                                                                                                                                                  Easy Care (Queen,                                     474,678Solid
                                                                                                                                                                                                                                                                                        Twin, Bright White,              3 #1Magnets,
                                                                                                                                                                                                                                                                                                                               Best SellerWaterproof
                                                                                                                                                                                                                                                                                                                                               in Shower
       Kitchen
       More                               Pillow
                                          Pillow Pillowcases
                                                   Cases, Gifts for                   Pillowcase
                                                                                      Easy-Fit, Extra
                                                                                                    Sets Soft &               Pillow Inserts                        Machines
                                                                                                                                                                    1400B                                         48% off   Deal
                                                                                                                                                                                                                                                  $   21 . 95                           $ 15 . 91 ($5.30/Count)          Curtain
                                                                                                                                                                                                                                                                                                                         Cute Lightweight
                                                                                                                                                                                                                                                                                                                                    Liners
       $   35 . 00                        $ 6 . 98 ($3.49/Count)
                                          Women       Men                              29 . 99 Free Sheets -
                                                                                     $Wrinkle                                 $ 16 . 99 ($8.50/Count)
                                                                                                                                                                        28% off    Deal                                                           Get it as soon as Sunday,             Get it as soon as Sunday,          8 . 95
                                                                                                                                                                                                                                                                                                                        $Standard       Size Shower
       Get it as soon as Tuesday,         Get it as soon as Sunday,                  Get
                                                                                     White it asOeko-Tex
                                                                                                 soon as Sunday,
                                                                                                             Bed              Get it as soon as Sunday,
                                                                                                                                                                                                              $   20 . 89                         Nov 19                                Nov 19                          Get
                                                                                                                                                                                                                                                                                                                        Curtains
                                                                                                                                                                                                                                                                                                                               it as soon
                                                                                                                                                                                                                                                                                                                                       for Bathroom
                                                                                                                                                                                                                                                                                                                                           as Sunday, -
       Nov 21                             Nov 19                                     Nov
                                                                                     Sheet19 Set                              Nov 19
                                                                                                                                                                    $   89 . 00                               List: $39.99
                                                                                                                                                                                                                                                  FREE Shipping on orders               FREE Shipping on orders         Clear
                                                                                                                                                                                                                                                                                                                        Nov 19
                                                                                                                                                                    List: $123.59                             Get it as soon as Monday,
       FREE Shipping by Amazon            FREE Shipping on orders                    FREE Shipping on orders                  FREE Shipping on orders                                                                                             over $35 shipped by Amazon            over $35 shipped by Amazon      FREE Shipping on orders
                                                                                                                                                                    Get it as soon as Sunday,                 Nov 20
                                          over $35 shipped by Amazon                 over $35 shipped by Amazon               over $35 shipped by Amazon                                                                                              Climate Pledge Friendly               Climate Pledge Friendly     over $35 shipped by Amazon
                                                                                                                                                                    Nov 19                                    FREE Shipping on orders
                                               Climate Pledge Friendly                    Climate Pledge Friendly                 Climate Pledge Friendly
                                                                                                                                                                    FREE Shipping by Amazon                   over $35 shipped by Amazon


Customers who viewed items in your browsing history also viewed                                                                                                                                                                                                                                                                                            Page 1 of 5




       Purse Hanger Purse                 12 Pack Purse Hanger                       BESARME 15 Pack                          ZEDODIER 14 Pack                      Myfolrena Purse Hangers                   Fitnice 10 Pack Purse                CTOHN 20 Pack Purse                  HiGift 8 Pack Purse             GEZIDEA Purse Hanger
       Organizer for Closet,S             for Closet,Unique Twist                    Purse Hanger for Closet,                 Purse Hooks for Closet,               Bag Hooks Closet- 12                      Hanger for Closet, S                Hanger for Closet,                    Hanger for Closet,              S Hooks Twisted S
       Hooks Twist Design Bag             Design Bag Hanger                          Unique Twist Design Bag                  Backpack Hanger Bag                   Pack Handbag Hanger                       Hooks for Hanging                    Unique Twist Design Bag              Unique Twist Design             Hooks Closet Rod Hooks
       Hanger,Closet Rod                   Purse Hooks, Large Size                    Hanger Hooks, Purse                     Holder, Closet                        Organizer Metal S                         Twisted Purse Hooks                  Hanger Purse Hooks,                  Bags Hanger 457     Hooks,      for
       Hooks for Hanging                   Closet Rod Hooks    1,307 for              Organizer Hooks  314 for                Accessories Organizer S               Hooks, Large Size Closet                  Heavy Duty S Hooks                   Purse Organizer Hooks                Large
                                                                                                                                                                                                                                                                                           Save Size
                                                                                                                                                                                                                                                                                                  11% Closet Rod        Handbags,Bags,Clothes,
                     439
       Handbags,Purses,Belts,S            Hanging
                                             Amazon's Necklace
                                                          Choice     Bags,
                                                                     in  Tie         Closet
                                                                                        Amazon's
                                                                                               Large
                                                                                                   Choice
                                                                                                       Closetin SUtility                    100
                                                                                                                              Hook for Hanging                      Rod Hooks for229Hanging                   Handbag Hanger184                                    17
                                                                                                                                                                                                                                                  for Closet, S Hooks      for          Hooks
                                                                                                                                                                                                                                                                                        $ 7 . 99 for Hanging            Pures,Hats,10Pack
         8 . 98 ($1.12/Count)
       $carves,Hats,Clothes,Pots          Purses,
                                          Racks         Handbags, Belts,             Hooks
                                                                                     Hooks for Hanging                         7 99
                                                                                                                              $Purses,
                                                                                                                                  .    ($0.57/Count)
                                                                                                                                         Handbags,     Bags,        $ 9 . 99
                                                                                                                                                                    Handbags,Clothes,                            .9 99
                                                                                                                                                                                                              $Organizer
                                                                                                                                                                                                                      ($1.00/Count)
                                                                                                                                                                                                                          Space Saving              9 . 98 ($0.50/Count)
                                                                                                                                                                                                                                                  $Hanging     Handbags                 Purses,
                                                                                                                                                                                                                                                                                        List: $8.99 Handbags, Belts,    (Large&90Deg)353
        and
        Get itPans.
               as soon(8 asPack
                             Sunday,
                                 Black)   $Scarves,      Hats,Clothes,
                                            9 . 69 ($0.81/Count)                     $Handbags      Purses
                                                                                       9 . 99 ($0.67/Count)                   Belts,
                                                                                                                              Get it asScarves,
                                                                                                                                         soon as Sunday,
                                                                                                                                                  Hats,             Curtain,
                                                                                                                                                                    Get it as soon
                                                                                                                                                                               Plant,as Pans
                                                                                                                                                                                        Sunday,and            Closet
                                                                                                                                                                                                              Get it as Rod
                                                                                                                                                                                                                         soon Hooks
                                                                                                                                                                                                                               as Monday,
                                                                                                                                                                                                                                      for          Purses
                                                                                                                                                                                                                                                   Get it as Clothes
                                                                                                                                                                                                                                                             soon as Sunday,
                                                                                                                                                                                                                                                                      Belts             Scarves,
                                                                                                                                                                                                                                                                                        Lowest price  Hats,Clothes,
                                                                                                                                                                                                                                                                                                           in 30 days
        Nov 19                            Pans
                                           Get it asandsoonPots,  Black
                                                              as Sunday,             Clothes(Black)
                                                                                      Get it as soon as Sunday,               Clothes,
                                                                                                                              Nov 19 and Plant, Silver              Pots
                                                                                                                                                                    Nov 19                                    Clothes,
                                                                                                                                                                                                              Nov 20 Bags, Plants,                 (Black)
                                                                                                                                                                                                                                                   Nov 19                               Pans
                                                                                                                                                                                                                                                                                        Get it asandsoonPots  - Black
                                                                                                                                                                                                                                                                                                          as Sunday,
        FREE Shipping on orders           Nov 19                                     Nov 19                                   FREE Shipping on orders               FREE Shipping on orders                   Pots
                                                                                                                                                                                                              FREE (Black)
                                                                                                                                                                                                                      Shipping on orders           FREE Shipping on orders              Nov 19
        over $35 shipped by Amazon        FREE Shipping on orders                    FREE Shipping on orders                  over $35 shipped by Amazon            over $35 shipped by Amazon                over $35 shipped by Amazon           over $35 shipped by Amazon           FREE Shipping on orders
                                          over $35 shipped by Amazon                 over $35 shipped by Amazon                                                                                                                                                                         over $35 shipped by Amazon




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                                                                               About Amazon                                                                                                                                                                     Policies
                                                                                                                                     Protect & Build Your                                       Amazon Business Card
                                                                               Accessibility                                         Brand                                                                                                                      Amazon Prime
                                                                                                                                                                                                Shop with Points
                                                                               Sustainability                                        Become an Affiliate                                                                                                        Returns &
                                                                                                                                                                                                Credit Card Marketplace
                                                                                                                                                                                                                                                                Replacements
                                                                               Press Center                                          Become a Delivery Driver
                                                                                                                                                                                                Reload Your Balance                                             Manage Your
                                                                               Investor Relations                                    Start a Package Delivery
                                                                                                                                                                                                Gift Cards                                                      Content and Devices
                                                                                                                                     Business
                                                                               Amazon Devices
                                                                                                                                                                                                Amazon Currency Converter                                       Your Recalls and
                                                                                                                                     Advertise Your Products
                                                                               Amazon Science                                                                                                                                                                   Product Safety Alerts
                                                                                                                                     Self-Publish with Us
                                                                                                                                                                                                                                                                Help
                                                                                                                                     Host an Amazon Hub
                                                                                                                                     ›See More Ways to
                                                                                                                                     Make Money




                                                                                                                                                                                    English                  United States




                                                                               Amazon Music                          Amazon Ads                6pm                                    AbeBooks                        ACX                    Sell on Amazon               Amazon
                                                                               Stream millions                       Reach                     Score deals                            Books, art                      Audiobook              Start a Selling              Business
                                                                               of songs                              customers                 on fashion brands                      & collectibles                  Publishing             Account                      Everything
                                                                                                                     wherever they                                                                                    Made Easy                                           For
                                                                                                                     spend their                                                                                                                                          Your
                                                                                                                     time                                                                                                                                                 Business

                                                                               Amp                                   Amazon                    AmazonGlobal                           Home Services                   Amazon Web             Audible                      Box Office
                                                                               Host your own live radio              Fresh                     Ship Orders                            Experienced Pros                Services               Listen to Books &            Mojo
                                                                               show with                             Groceries &               Internationally                        Happiness                       Scalable Cloud         Original                     Find Movie
                                                                               music you love                        More                                                             Guarantee                       Computing              Audio                        Box Office
                                                                                                                     Right To Your                                                                                    Services               Performances                 Data
                                                                                                                     Door

                                                                               Goodreads                             IMDb                      IMDbPro                                Kindle Direct                   Amazon Photos          Prime Video                  Shopbop
                                                                               Book reviews                          Movies, TV                Get Info Entertainment                 Publishing                      Unlimited Photo        Direct                       Designer
                                                                               & recommendations                     & Celebrities             Professionals Need                     Indie Digital &                 Storage                Video Distribution           Fashion
                                                                                                                                                                                      Print Publishing                Free With              Made Easy                    Brands
                                                                                                                                                                                      Made Easy                       Prime

                                                                               Amazon Warehouse                      Whole Foods               Woot!                                  Zappos                          Ring                   eero WiFi                    Blink
                                                                               Great Deals on                        Market                    Deals and                              Shoes &                         Smart Home             Stream 4K Video              Smart
                                                                               Quality Used Products                 America’s                 Shenanigans                            Clothing                        Security               in Every  Room               Security
                                                                                                                     Healthiest                                                                                       Systems                                             for Every
                                                                                                                     Grocery Store                                                                                                                                        Home

                                                                                                                     Neighbors                 Amazon Subscription                    PillPack                        Amazon
                                                                                                                     App                       Boxes                                  Pharmacy                        Renewed
                                                                                                                     Real-Time                 Top subscription boxes –               Simplified                      Like-new
                                                                                                                     Crime                     right to your door                                                     products
                                                                                                                     & Safety                                                                                         you can trust
                                                                                                                     Alerts
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